              1    Julian I. Gurule (CA SBN: 251260)*                                HONORABLE WHITMAN L. HOLT
                   O’MELVENY & MYERSthLLP
              2    400 South Hope Street, 18 Floor                                   HEARING DATE: March 27, 2024
                   Los Angeles, California 90071                                     HEARING TIME: 10:00 A.M.
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                   Email: jgurule@omm.com                                                      2nd Floor Courtroom
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             14
                   *Admitted Pro Hac Vice
             15
                   Counsel to Debtors and Debtors in
             16    Possession
             17                                UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF WASHINGTON
             18
                  In re:                                                             Chapter 11
             19
                  ICAP ENTERPRISES, INC., et al.,                                    Lead Case No. 23-01243-WLH11
             20                                                                      Jointly Administered
                                                             Debtors. 1
             21
                  1 The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-01261-
             22   11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11); Vault Holding
                  1, LLC (23-01265-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC (23-01248-
             23   11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific Income 5 Fund, LLC (23-01249-
                  11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11); Senza Kenmore, LLC (23-01254-
             24   11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap Broadway, LLC (23-01252-11); VH 1121 14th
                  LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows Townhomes LLC (23-01262-11); iCap @ UW, LLC (23-01244-
             25   11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer Village LLC (23-01263-11); iCap Funding LLC (23-01246-11); iCap
                  Management LLC (23-01268-11); iCap Realty, LLC (23-01260-11); Vault Holding, LLC (23-01270-11); iCap Pacific Development
             26   LLC (23-01271-11); iCap Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); iCap Holding 6 LLC (23-01274-11);


                   JOINT MOTION FOR ORDER AUTHORIZING DEBTORS TO                                                      BUCHALTER
                   OBTAIN SUPPLEMENTAL DEBTOR-IN-POSSESSION                                                      1420 FIFTH AVENUE, SUITE 3100
                                                                                                                    SEATTLE, WA 98101-1337
                   FINANCING                                                                                       TELEPHONE: 206.319.7052

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              1                                                                    JOINT MOTION OF THE
                                                                                   DEBTORS AND COMMITTEE FOR
              2                                                                    ORDER: (I) AUTHORIZING THE
                                                                                   DEBTORS TO OBTAIN
              3                                                                    SUPPLEMENTAL POSTPETITION
                                                                                   SECURED FINANCING; (II)
              4                                                                    GRANTING SUPERPRIORITY
                                                                                   ADMINISTRATIVE EXPENSE
              5                                                                    CLAIMS; AND (III) GRANTING
                                                                                   RELATED RELIEF
              6
              7
                                       MEMORANDUM OF POINTS AND AUTHORITIES
              8
                           Pursuant to sections 105, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), and 364(e) of
              9
                  Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”),
             10
                  and Rules 2002, 4001(c), and 9014 of the Federal Rules of Bankruptcy Procedure (the
             11
                  “Bankruptcy Rules”) and the corresponding local rules (the “Local Rules”), the above-
             12
                  captioned debtors and debtors in possession (the “Debtors”) in the above-captioned
             13
                  chapter 11 cases (the “Chapter 11 Cases”) and the unsecured creditors’ committee
             14
                  appointed in these Chapter 11 Cases (as amended on November 9, 2023 [Dkt. No. 147],
             15
                  the “Committee” and together with the Debtors, the “Movants”) submit this Motion for
             16
                  Order:(I) Authorizing the Debtors to Obtain Supplemental Postpetition Secured
             17
                  Financing; (II) Granting Superpriority Administrative Expense Claims; and (III)
             18
                  Granting Related Relief (the “Motion”).
             19
                           By the Motion, the Movants seek entry of an order, substantially in the form
             20
                  attached hereto as Exhibit 1 (together with all annexes and exhibits thereto, the “DIP
             21
                  Order”) seeking authorization for the Debtors to, among other things:
             22
                           i.       to enter into, be bound by, and perform under (a) a debtor-in-possession
             23
                                    credit facility (the “DIP Loan Facility”), pursuant to the Debtor-In-
             24
                                    Possession Loan and Security Agreement dated as of February 23, 2024,
             25
                  Colpitts Sunset, LLC (23-01432-11); CS2 Real Estate Development LLC (23-01434-11); and iCap International Investments, LLC (23-
             26   01464-11).

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              1                      by and among the Debtors and iCap DIP Finance Group LLC (the “DIP
              2                      Lender”), which agreement is attached hereto as Exhibit 2 (as the same
              3                      may be amended, restated, supplemented, waived, or otherwise modified
              4                      from time to time, the “DIP Agreement”)2 and (b) the documents related
              5                      to the DIP Agreement (together with the DIP Agreement, the “DIP
              6                      Documents”);
              7            ii.       obtain postpetition loans, advances, and other financial accommodations
              8                      (the “DIP Loans”) in an aggregate principal amount not to exceed
              9                      $5,000,000, pursuant to the terms and conditions of the DIP Documents
             10                      and the DIP Order;
             11            iii.      grant to the DIP Lender first priority liens on all Causes of Action and all
             12                      proceeds recovered by the Loan Parties pursuant to the Causes of Action,
             13                      including, without limitation, any real property assets other than those
             14                      addressed in Section 4.1(b) of the DIP Agreement, to secure the DIP Loan
             15                      Facility and all obligations owing and outstanding thereunder and under
             16                      the DIP Agreement, as applicable, and this Order, as applicable
             17                      (collectively, the “DIP Obligations”), subject only to prior payment of the
             18                      Carve-Out (as defined below), pursuant to section 364(c)(2) of the
             19                      Bankruptcy Code;
             20            iv.       grant to the DIP Lender liens on all of the Debtors’ real property (the “Real
             21                      Property”) to secure the DIP Loan Facility and the DIP Obligations,
             22                      subject only to the Carve-Out and the Permitted Liens, including, but not
             23                      limited to, the liens existing as of the Closing Date in favor of Serene
             24                      Investment Management, LLC (“Serene”) encumbering the Real Property,
             25                      pursuant to section 364(c)(3) of the Bankruptcy Code;
             26   2 Capitalized terms not defined herein have the meanings ascribed to them in the DIP Agreement.



                   JOINT MOTION FOR ORDER AUTHORIZING DEBTORS TO                                                        BUCHALTER
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                                                                                                                       SEATTLE, WA 98101-1337
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              1            v.        grant to the DIP Lender allowed superpriority administrative expense
              2                      claims pursuant to section 364(c)(1) of the Bankruptcy Code in respect of
              3                      all amounts advanced to the Debtors under the DIP Agreement;
              4            vi.       use the proceeds of DIP Loans, subject to the terms, restrictions, and other
              5                      conditions of the DIP Agreement and the DIP Order, to (a) pay the Fees,
              6                      (b) pay certain costs, premiums, fees, and expenses related to the Chapter
              7                      11 Cases, and (c) fund working capital and other needs of the Loan Parties,
              8                      including, but not limited to, funding the investigation and/or pursuit of
              9                      any litigation claims held by the Debtors and prepetition payments to
             10                      taxing authorities previously authorized by the court, in each case, to the
             11                      extent permitted under the DIP Agreement;
             12            vii.      vacate and modify the automatic stay imposed by section 362 of the
             13                      Bankruptcy Code solely to the extent necessary to implement and
             14                      effectuate the terms of the DIP Documents and the DIP Order; and
             15            viii. waive, to the extent applicable, any stay of the immediate effectiveness of
             16                      the DIP Order imposed by the Bankruptcy Code or the Bankruptcy Rules,
             17                      such that the DIP Order shall be immediately effective upon its entry on
             18                      the Court’s docket.
             19            In support of this Motion, the Movants submit the Declaration of Lance Miller
             20   in Support of the Supplemental Debtor in Possession Financing Motion (the “DIP
             21   Declaration”), the Supplemental Declaration of Lance Miller in Support of Postpetition
             22   Financing and Related Relief (the “Miller Declaration”), and the Declaration of Jeffrey
             23   H. Kinrich in Support of Postpetition Financing and Related Relief (the “Kinrich
             24   Declaration” and together with the Miller Declaration the “Ponzi Declarations”), each
             25   filed concurrently herewith. 3
             26   3 The Debtors may file additional supporting documents prior to the hearing on this Motion.



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              1         In support of this Motion, the Movants respectfully state the following:
              2                          I.      PRELIMINARY STATEMENT
              3         1.     The Debtors have spent the first part of these Chapter 11 Cases liquidating
              4   their real estate portfolio and investigating the cause of the Debtors’ downfall. Now,
              5   they are at a critical juncture to pivot their focus and efforts to pursue claims against
              6   third parties to recover value for the Debtors’ estates. Once approved, the DIP Loan
              7   Facility will provide the Debtors with the funding necessary to begin to litigate the
              8   claims arising out of the Debtors’ prepetition business in accordance with the
              9   Cooperation Agreement between the Debtors and the Committee. The DIP Loan
             10   Facility will also provide the necessary working capital to enable the Debtors to
             11   formulate a plan of liquidation in consultation with the Committee and move these
             12   Chapter 11 Cases forward as quickly and efficiently as possible.
             13         2.     From the outset of these cases, the Debtors, working collaboratively with
             14   the Committee, expended significant efforts to analyze the facts and circumstances
             15   surrounding the failure of the iCap business and potential causes of action related to
             16   such failure. The Debtors’ investigation was overseen by their independent Board of
             17   Directors and spearheaded by Lance Miller, the Debtors’ Chief Restructuring Officer,
             18   with substantial support from professionals at Paladin Management and counsel for the
             19   Debtors. The Debtors conducted the investigation in collaboration with the Committee
             20   and its advisors, including forensic accounting professionals at B. Riley, the
             21   Committee’s financial advisor, and the Committee’s lawyers. The investigation
             22   included an analysis of the Debtors’ accounting platform, bank statements, financial
             23   statements, and other financial records, as well as interviews with former employees
             24   willing to speak to the Debtors. The Debtors’ investigation was further supported by a
             25   forensic accounting professional, Jeffrey H. Kinrich of Analysis Group, who is a
             26

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              1   certified public accountant, with extensive experience investigating and testifying on
              2   financial and accounting issues related to distressed companies.
              3         3.       Based on all the available information, the Debtors have concluded that for
              4   years during the prepetition period, iCap operated as a Ponzi scheme. The Debtors’
              5   business enterprise bears all the hallmarks of a Ponzi scheme. Significantly,
              6              •   iCap’s businesses operated with negative cash flow since inception. For
              7                  example, Fund 1’s real estate investments lost approximately $38 million
              8                  through 2021, and Fund 2’s investments lost $18.5 million through 2021.
              9              •   The source of payments to initial iCap investors was from cash infused by
             10                  new iCap investors. This is reflected in the declining returns for initial
             11                  investors as compared to later investors.
             12              •   iCap’s business revenue was not sufficient to continue operations and,
             13                  accordingly, iCap relied upon increasing fundraising and commingling
             14                  cash. Fundraising became the near-exclusive source for the Debtors’
             15                  capital. Between October 2018 and September 2023, fundraising activities
             16                  represented more than 75% of total receipts (excluding intercompany
             17                  advances), and were almost 10 times greater than revenues from real estate
             18                  activities.
             19              •   The vast majority of funds received by iCap were from investors and
             20                  external lenders rather than generated through business operations.
             21                  Deposits to iCap entities were largely comprised of money from investors
             22                  (49.4%), intercompany transfers (34.9%), and third-party loans (9.6%),
             23                  more so than from business operations (6.0%).
             24              •   To attract new investors, iCap management repeatedly disseminated false
             25                  and misleading financial information through quarterly newsletters and
             26                  investment calls.

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              1              •   Rather than structure its real estate investments as equity investments, iCap
              2                  chose to raise capital from investors through privately placed debentures
              3                  under which investors were promised interest rates ranging from 6% to
              4                  15%.
              5              •   iCap consistently encouraged investors to “roll over” their investments,
              6                  rather than be paid in full at maturity. For example, when Fund 1 and Fund
              7                  2 matured in December 2016 and December 2017, respectively, iCap was
              8                  unable to repay either Fund’s debentures. After several maturity date
              9                  extensions, iCap gave investors the option to “roll over” their debentures
             10                  into the newly created Fund 3.
             11              •   Fund 3 never owned or invested in real estate projects directly. Fund 3 was
             12                  marketed as a “fund of funds” that owned equity interests in Funds 1 and
             13                  2 and would benefit from the income generated from those funds.
             14         4.       Ultimately, iCap conducted minimal legitimate business operations, did
             15   not generate any profits on a standalone basis, and used new investors’ money to pay
             16   returns to earlier investors.
             17         5.       The Debtors are seeking approval of up to $5,000,000 in supplemental
             18   financing to pursue claims against third parties arising out of the Ponzi scheme
             19   perpetrated by the Debtors’ former management. The DIP Loan Facility is expressly
             20   conditioned on the court finding and concluding that during the prepetition period the
             21   Debtors operated as a Ponzi scheme. Such findings and conclusions are well founded
             22   based on the exhaustive investigation conducted by the Debtors and the Committee and
             23   are necessary and appropriate to quickly and efficiently pursue claims related to the
             24   Ponzi scheme.
             25         6.       The DIP Loan Facility is the best path forward for the Debtors and their
             26   estates and is critical to maximizing recoveries to creditors. For all of these reasons, and

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              1   as discussed in detail below, the Movants respectfully request that the court grant the
              2   relief requested in this Motion and authorize the Debtors to enter into the DIP
              3   Agreement.
              4                                        II.       JURISDICTION AND VENUE
              5             7.        This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
              6   and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper
              7   pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief sought
              8   herein are sections 105, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), and 364(e) of the
              9   Bankruptcy Code and Bankruptcy Rules 2002, 4001(c), and 9014.
             10                                                    III.      BACKGROUND
             11   A.        The Debtors and Commencement of the Chapter 11 Cases.
             12             8.        The Debtors were founded in 2007 by Chris Christensen (“Christensen”)
             13   to invest in real estate opportunities in the Pacific Northwest. The Debtors grew quickly,
             14   raising approximately $250 million in capital and deploying those funds toward real
             15   estate investments. By early 2023, the Debtors employed more than 35 employees in
             16   their headquarters based in Bellevue, Washington.
             17             9.        On September 28, 2023, Christensen resigned all positions with the
             18   Debtors, and Lance Miller was appointed Chief Restructuring Officer with full and
             19   exclusive control and authority over the Company and the prosecution of these chapter
             20   11 cases.
             21             10.       The Debtors commenced their respective Chapter 11 Cases on September
             22   29, 2023 (the “Petition Date”). 4 Since the commencement of these Chapter 11 Cases,
             23   the Debtors continue to control their business and affairs as debtors in possession, under
             24   the control of the Chief Restructuring Officer, pursuant to sections 1107 and 1108 of
             25   4 Certain of the Debtors filed their own chapter 11 cases on September 30, November 8, and November 14, 2023. For purposes of this

                  Motion, “Petition Date” as used herein will refer to the earliest of the Debtors’ respective filing dates, and “Chapter 11 Cases” includes
             26   all of the Debtors’ cases, irrespective of when they were filed.

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              1   the Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11
              2   Cases.
              3         11.    On October 2, 2023, the court ordered joint administration of the Chapter
              4   11 Cases, which are now being administered under the lead case of iCap Enterprises,
              5   Inc. (Case No. 23-01243-WLH11).
              6         12.    On October 20, 2023, the Office of the United States Trustee for the
              7   Eastern District of Washington appointed the Committee.
              8         13.    Additional information about the Debtors’ historical business operations,
              9   capital structure, and the events leading up to the commencement of the Chapter 11
             10   Cases is set forth in the Declaration of Lance Miller in Support of First Day Motions
             11   [Dkt. No. 23].
             12   B.    The Serene DIP Agreement.
             13         14.    As part of their first day motions, the Debtors sought authority to obtain
             14   debtor-in-possession financing from the Serene and enter into that certain debtor-in-
             15   possession credit facility, pursuant to an agreement dated as of October 3, 2023, by and
             16   among the Debtors and Serene (as the same may be amended, restated, supplemented,
             17   waived, or otherwise modified from time to time, the “Serene DIP Agreement”). Under
             18   the Serene DIP Agreement, the Debtors obtained postpetition loans, advances, and other
             19   financial accommodations in an aggregate principal amount not to exceed $5,250,000,
             20   or up to $6,750,000, if certain conditions were met.
             21         15.    On October 5, 2023, the Court entered the Interim Order (I) Authorizing
             22   the Debtors to Obtain Post-Petition Secured Financing Pursuant to Section 364 of the
             23   Bankruptcy Code; (II) Authorizing the Debtors to Use Cash Collateral; (Iii) Granting
             24   Superpriority Claims; (IV) Providing Adequate Protection And Administrative Expense
             25   Claims; (V) Scheduling a Final Hearing; and (V) Granting Related Relief [Dkt. No. 68]
             26   (the “Serene Interim DIP Order”).

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              1             16.       On November 13, 2023, the Court entered the Final Order (I) Authorizing
              2   the Debtors to Obtain Post-Petition Secured Financing Pursuant to Section 364 of the
              3   Bankruptcy Code; (II) Authorizing the Debtors to Use Cash Collateral; (Iii) Granting
              4   Superpriority Claims; (IV) Providing Adequate Protection And Administrative Expense
              5   Claims; and (IV) Granting Related Relief [Dkt. No. 154] (the “Serene Final DIP Order”
              6   and together with the Serene Interim DIP Order, the “Serene DIP Orders”).
              7             17.       Among other things, the Serene DIP Orders granted Serene first priority
              8   security interests and liens in and upon the Real Property 5 which, as of the Petition Date,
              9   was not encumbered by (besides by Serene) or subject to invalid, unperfected, or
             10   avoidable liens. See Serene Final DIP Order, ¶ 2.1.1. Serene also has second priority
             11   security interests and liens in and upon all of the Real Property that constitutes
             12   Prepetition Collateral (as defined in the Serene DIP Orders), other than the Campbell
             13   Way Real Property and Broadway Real Property (as defined in the Serene DIP Orders)
             14   and valid liens in existence as of the Petition Date that are (i) perfected subsequent to
             15   such date as permitted by section 546(b) of the Bankruptcy Code and (ii) to the extent
             16   such liens are expressly permitted in writing by Serene in its sole and absolute
             17   discretion. Id.
             18             18.       Serene has consented to the Debtors filing this Motion seeking authority
             19   to enter into the DIP Loan Facility.
             20   C.        Statement Pursuant to Bankruptcy Rule 4001.
             21             19.       Pursuant to Bankruptcy Rules 4001(b), (c), and (d), the following is a
             22   statement and summary of the proposed material terms of the DIP Documents and the
             23   DIP Order: 6
             24   5 The Real Estate Collateral is described on Exhibit A-1 to the Serene DIP Agreement.

                  6 This statement is qualified in its entirety by reference to the applicable provisions of the DIP Documents. To the extent there exists
             25   any inconsistency between this concise statement and the provisions of the DIP Documents or the DIP Order, the provisions of the DIP
                  Documents or the DIP Order, as applicable, will control. Capitalized terms used but not otherwise defined in this section have the
             26   meaning ascribed to such terms in the DIP Order or the DIP Agreement.

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              1                              SUMMARY OF MATERIAL TERMS
              2   Parties to the DIP    DIP Borrowers: All Debtor entities
                  Facility
              3                         DIP Lender: iCap DIP Finance Group LLC
                  Fed. R. Bankr. P.
              4   4001(c)(1)(B)
                  Purpose               The Debtors have limited cash resources to fund litigation efforts and
              5                         pursue recoveries from third parties to maximize the ultimate
                  Fed. R. Bankr. P.     distribution to investor creditors without the financing requested under
              6   4001(c)(1)(B)         this Motion. The ability of the Debtors to obtain sufficient working
                                        capital and liquidity through the proposed postpetition financing
              7                         arrangements with the DIP Lender as set forth in the DIP Order and the
                                        DIP Agreement is vital to the Debtors’ ability to maximize the value of
              8                         the assets of their bankruptcy estates. Accordingly, the Debtors have an
                                        immediate need to obtain the DIP Loan Facility to, among other things,
              9                         preserve and maximize the value of the assets of their estates.
             10                         See DIP Order ¶ E.(ii)
                  Borrowing Limits      The Debtors are authorized to enter into, be bound by, and perform under
             11                         the DIP Documents and to borrow in an aggregate principal amount not
                  Fed. R. Bankr. P.     to exceed $5,000,000, provided that disbursements of such amount are
             12   4001(c)(1)(B)         in accordance with the DIP Agreement and the DIP Order.
             13                         See DIP Order ¶ 1.2
             14                         “DIP Loan Commitment” means an aggregate amount not to exceed
                                        Five Million Dollars ($5,000,000.00).
             15
                                        Credit Agreement, ¶ 1.1 (definition of DIP Loan Commitment)
             16   Interest Rates        The principal amount advanced and outstanding under the DIP Loan
                                        Facility shall accrue interest at a per annum rate equal to 18%.
             17   Fed. R. Bankr. P.
                  4001(c)(1)(B)         See DIP Agreement, § 2.2(a)
             18
             19                         After the occurrence and during the continuance of an Event of Default,
                                        to the extent permitted by Applicable Law, the principal balance
             20                         advanced and outstanding shall bear interest at a rate per annum that is
                                        four percentage points (4%) above the Interest Rate that is otherwise
             21                         applicable thereto.
             22                         See DIP Agreement, § 2.2(b)
                  Maturity Date         The earlier of (i) the date that is twelve (12) months after the Final Order
             23                         Entry Date, unless extended (or deemed extended) in accordance with
                  Fed. R. Bankr. P.     Section 2.1(e) of the DIP Agreement, in which case the Maturity Date
             24   4001(c)(1)(B)         shall be the Extended Maturity Date or (ii) the date of termination of the
                                        DIP Loan Commitments and the acceleration of any outstanding
             25                         extensions of credit under the Loan in accordance with the terms of the
                                        DIP Agreement.
             26

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              1
                                      See DIP Agreement, § 1.1 (definition of Maturity Date)
              2   Conditions          The effectiveness of the DIP Agreement and the occurrence of the
                  Precedent to        Closing Date are subject to the satisfaction, or waiver by the DIP Lender,
              3   Closing and         of conditions precedent customary for financings of this type.
                  Lending
              4                       See DIP Agreement, §§ 3.1 and 3.2
                  Fed. R. Bankr. P.
              5   4001(c)(1)(B)
                  Events of Default   The DIP Agreement contains customary events of default for financings
              6                       of this type and other events of default agreed to by the Debtors and the
                  Fed. R. Bankr. P.   DIP Lender.
              7   4001(c)(1)(B)
                                      See DIP Agreement, § 8
              8   Carve-Out           The “Carve-Out” is an amount equal to the sum of (i) all fees required
                                      to be paid to the clerk of this court and to the Office of the United States
              9   Fed. R. Bankr. P.   Trustee under section 1930(a) of title 28 of the United States Code plus
                  4001(c)(1)(B)
             10                       interest at the statutory rate (without regard to the notice set forth in (iii)
                                      below); (ii) fees and expenses of up to $10,000 incurred by a trustee
             11                       under section 726(b) of the Bankruptcy Code (which is included in the
                                      notice set forth in (iii) below); and (iii) allowed and unpaid claims for
             12                       unpaid fees, costs and expenses (the “Professional Fees”) incurred by
                                      persons or firms (“Professional Persons”) retained by the Debtors or the
             13
                                      Committee whose retention is approved by this court pursuant to
             14                       sections 327, 328 or 363 and 1103 of the Bankruptcy Code (all
                                      Professional Persons shall be paid pro rata from the Carve-Out), subject
             15                       in all respects to the terms of and amendments set forth in the DIP Order
                                      and any other interim or other compensation orders entered by this court
             16                       that are incurred at any time before delivery to the Debtors of a Carve-
                                      Out Trigger Notice (as defined below), whether allowed by this court
             17
                                      prior to the delivery of a Carve-Out Trigger Notice, subject to any limits
             18                       imposed by the DIP Order; provided that after the occurrence and during
                                      the continuance of an Event of Default and delivery of written notice
             19                       (the “Carve-Out Trigger Notice”) thereof (which may be by email) to the
                                      Debtors, the Debtors’ counsel, the United States Trustee, and lead
             20                       counsel for the Committee, if any, in an aggregate amount not to exceed
             21                       $200,000; provided further, that nothing herein shall be construed to
                                      impair the ability of any party to object to the fees, expenses,
             22                       reimbursement or compensation described in clauses (i), (ii), or (iii)
                                      above, on any grounds. The Carve-Out may be funded to an
             23                       administrative reserve account (the “Carve-Out Account”), which
                                      account shall be used to pay Professional Fees and any unpaid fees to the
             24                       United States Trustee. As cash flow permits, and assuming no issuance
             25                       of a Carve-Out Trigger Notice, the Debtors may pay the amounts set
                                      forth for Professional Fees into the Carve-Out Account. Notwithstanding
             26                       the foregoing, the Carve-Out shall not include, apply to or be available

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              1                        for any fees or expenses incurred by any party in connection with (a) the
                                       investigation, initiation or prosecution of any claims, causes of action,
              2                        adversary proceedings or other litigation against the DIP Lender or any
              3                        of its officers, directors and professionals; (b) attempts to modify any of
                                       the rights granted to the DIP Lender; (c) attempts to prevent, hinder or
              4                        otherwise delay the DIP Lender’s assertion, enforcement or realization
                                       upon any DIP Collateral in accordance with the DIP Agreement or the
              5                        DIP Order (as applicable); provided that nothing in this section shall
                                       restrict the rights of parties in interest during the Remedies Notice Period
              6                        (as defined below); (d) paying any amount on account of any claims
              7                        arising before the commencement of the Chapter 11 Cases unless such
                                       payments are approved by an order of the court; or (e) after delivery of
              8                        a Carve-Out Trigger Notice, any success, completion, back-end or
                                       similar fees. For the avoidance of doubt and notwithstanding anything to
              9                        the contrary herein, the Carve-Out shall be senior to all liens and claims
                                       securing the DIP Loans, the Superpriority Claim, and any and all other
             10                        liens or claims existing pursuant to the DIP Loan Facility.
             11
                                       See DIP Order, ¶ 2.2
             12   Priority of Claims   To secure the prompt payment and performance of any and all
                  and Liens;           obligations of the Debtors to the DIP Lender of whatever kind, nature or
             13   Collateral           description, absolute or contingent, now existing or hereafter arising, the
                                       DIP Lender shall have valid and perfected:
             14   Fed. R. Bankr. P.
                  4001(c)(1)(B)(i)
             15                        (i)     Pursuant to Section 364(c)(2) of the Bankruptcy Code, first
                                       priority security interests and liens in and upon all Causes of Action and
             16                        all proceeds recovered by the Loan Parties pursuant to the Causes of
                                       Action, including, without limitation, any real property assets other than
             17                        those addressed in Section 4.1(b) of the DIP Agreement, to secure the
                                       DIP Loan Facility and all DIP Obligations, subject only to prior payment
             18
                                       of the Carve-Out.
             19
                                       (ii)    Pursuant to Section 364(c)(3) of the Bankruptcy Code, security
             20                        interests and liens in and upon all of the Real Property, subject only to
                                       the Carve-Out and the Permitted Liens, including, but not limited to, the
             21                        liens existing as of the Closing Date in favor of Serene encumbering the
             22                        Real Property.

             23                        See DIP Order, ¶ 2.1.1

             24                        The term “DIP Collateral” shall have the meaning ascribed to the term
                                       “Collateral” in the DIP Agreement, which term includes the Real Property
             25                        and Causes of Action and proceeds thereof.
             26

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              1                        See DIP Order, ¶ 2.1.2
                  Adequate
              2   Protection /         None.
                  Identity of Each
              3   Entity with
                  Interest in Cash
              4   Collateral
              5   Fed. R. Bankr. P.
                  4001(c)(1)(B)(ii);
              6   (b)(1)(B)(i), (iv)
              7   Debtors’
                  Stipulations         None
              8
                  Fed. R. Bankr. P.
              9   4001(c)(1)(B)(iii)
             10
                  Waiver or            Upon the occurrence and continuation of an Event of Default, and upon
             11   Modification of      the giving of five (5) business days’ notice to the Debtors, the U.S.
                  Automatic Stay       Trustee and the Committee, the DIP Lender may exercise all other rights
             12
                  Fed. R. Bankr. P.    and remedies provided for in the DIP Order or the applicable DIP Loan
             13   4001(c)(1)(B)(iv)    Documents and applicable law, free of the automatic stay of section 362
                                       of the Bankruptcy Code. During the Remedies Notice Period (as defined
             14                        in the DIP Order), any party in interest shall be entitled to seek an
                                       emergency hearing with the court, for the sole purpose of contesting
             15
                                       whether an Event of Default has occurred and/or is continuing.
             16
                                       See DIP Order, ¶ 4.2.
             17   Indemnification      The DIP Agreement provides for customary indemnification by each of
                                       the Debtors of the DIP Lender and its officers, employees, and agents.
             18   Fed. R. Bankr. P.
                  4001(c)(1)(B)(ix)    See DIP Agreement § 14.2.
             19   Section 506(c)       The DIP Liens and the Superpriority Claim (a) shall not be subject to
                  Waiver /             sections 510, 542, 549, 550, or 551 of the Bankruptcy Code, the “equities
             20   Section 552(b)       of the case” exception of section 552 of the Bankruptcy Code, or section
                  Waiver               506(c) of the Bankruptcy Code, (b) shall be senior in priority and right
             21                        of payment to (y) any lien that is avoided and preserved for the benefit
                  Fed. R. Bankr. P.    of the Debtors and their Estates under section 551 of the Bankruptcy
             22   4001(c)(1)(B)(x)     Code or otherwise and (z) any intercompany or affiliate liens or claims
                                       of the Debtors, and (c) shall be valid and enforceable against any trustee
             23                        or any other estate representative appointed or elected in the Chapter 11
                                       Cases, whether upon the conversion of any of the Chapter 11 Cases to a
             24                        case under chapter 7 of the Bankruptcy Code or appointed in these
                                       Chapter 11 Cases prior to conversion, or in any other proceedings related
             25                        to any of the foregoing (each, a “Successor Case”), and/or upon the
                                       dismissal of any of the Chapter 11 Cases or any Successor Case.
             26

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              1                       See DIP Order ¶ 2.1.4
                  Marshalling         The DIP Lender shall not be subject to the equitable doctrine of
              2   Waiver              “marshaling” or any other similar doctrine with respect to any of the DIP
                                      Collateral.
              3
                                      See DIP Order ¶ 6.2
              4   Liens on            The DIP Lender shall have and was granted first priority security
                  Avoidance Actions   interests and liens in and upon all Causes of Action, which term includes
              5                       all avoidance actions and proceeds thereof.
                  Fed. R. Bankr. P.
              6   4001(c)(1)(B)(xi)   See DIP Order ¶¶ 2.1.1(i), 2.1.2
              7                       “Causes of Action” means claims or causes of action held or controlled
                                      by the Loan Parties, including without limitation sections 544, 547, 548,
              8                       and 550 of the Bankruptcy Code.
              9                       See DIP Agreement, § 1.1 (definition of Causes of Action)
                  Fees                Facility Fee. A facility fee in an amount equal to ten percent (10%) of
             10                       the Initial Funding Amount. The Facility Fee shall be paid as and when
                  Fed. R. Bankr. P.   proceeds from Causes of Action exceed the Litigation Proceed
             11   4001(c)(1)
                                      Threshold in the aggregate. Any portion of the Facility Fee that then still
             12                       remains unpaid after the Litigation Proceed Threshold has been
                                      exceeded, shall be repaid in full upon the earlier of (i) repayment in full
             13                       of the Obligations at any time and (ii) the Maturity Date.
             14                       Repayment Premium. On the Original Maturity Date, the Loan Parties
                                      agree to pay a premium to Lender equal to 0.3 times the amount of the
             15
                                      Credit Extensions actually made by the DIP Lender to the Loan Parties
             16                       during the term of the DIP Agreement, minus the aggregate amount of
                                      interest paid to the DIP Lender and/or owed based on the Interest Rate
             17                       applied to the total amount of Credit Extensions actually made by the
                                      DIP Lender to the Loan Parties during the term of the DIP Agreement;
             18                       provided, however, that interest attributable to the Default Rate during
                                      an Event of Default shall not be included in the foregoing calculation. If
             19
                                      the Option to Extend is exercised (or deemed exercised), on the
             20                       Extended Maturity Date, the Loan Parties will pay an additional amount
                                      equal to 0.3 times the amount of the Credit Extensions actually made by
             21                       the DIP Lender to the Loan Parties during the term of the DIP
                                      Agreement, minus the aggregate amount of interest paid to the DIP
             22                       Lender and/or owed based on the Interest Rate applied the total amount
             23                       of Credit Extensions actually made by the DIP Lender to the Loan
                                      Parties during the term of the DIP Agreement; provided, however, that
             24                       interest attributable to the Default Rate during an Event of Default shall
                                      not be included in the foregoing calculation. For the avoidance of doubt,
             25                       the Repayment Premium and Extension Premium are fees payable to the
                                      DIP Lender separate from and in addition to the Facility Fee, Lender
             26

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              1                        Expenses, interest (including interest attributable to the Default Rate and
                                       interest attributable to Section 2.8(b) of the DIP Agreement) and any
              2                        other amounts or obligations of the Loan Parties under the DIP
              3                        Agreement.

              4                        Lender Expenses. All Lender Expenses (including reasonable and
                                       documented attorneys’ fees and expenses for documentation and
              5                        negotiation of the DIP Agreement, incurred through and after the
                                       Effective Date, when due (or, if no stated due date, within ten (10) days
              6                        of written demand from the DIP Lender, which Lender Expenses must
                                       be fully paid upon the Maturity Date)). Lender Expenses are subject to a
              7
                                       professionals fee expense cap of $150,000.00 in the aggregate (the
              8                        “Professional Fees Cap”). For the avoidance of doubt, the Loan Parties
                                       shall be responsible for all Lender Expenses, including, without
              9                        limitation, any and all reasonable and documented expenses of the DIP
                                       Lender’s counsel, professional advisors, or in house administration, but
             10                        not to exceed the Professional Fees Cap; provided, however, that if there
             11                        is an Event of Default at any time, the Professional Fee Cap shall not
                                       apply with respect to Lender Expenses incurred during or relating to such
             12                        Event of Default.

             13                        Transaction Fee. Separate from and in addition to the Lender Expenses,
                                       the Loan Parties shall pay a transaction fee in the amount of Twenty-
             14                        Five Thousand Dollars ($25,000.00) for fees and costs relating to the due
                                       diligence, documentation, and other services performed by the DIP
             15                        Lender’s counsel with respect to the DIP Lender’s agreement to provide
             16                        the DIP Loan Facility.

             17                        See DIP Agreement, § 2.3

             18   D.    The Debtor’s Need for Litigation DIP Financing and Efforts to Secure

             19         Financing.

             20         20.    The Debtors have limited cash resources to fund litigation efforts and

             21   pursue recoveries from third parties to maximize the ultimate distribution to investor

             22   creditors without the DIP Loan Facility. The ability of the Debtors to obtain sufficient

             23   working capital and liquidity through the proposed DIP Loan Facility is vital to the

             24   Debtors’ ability to pursue claims arising out of the Ponzi scheme perpetrated by the

             25   Debtors’ former management and other third parties. Accordingly, the Debtors have a

             26

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              1   need to obtain the postpetition financing to, among other things, preserve and maximize
              2   the value of the assets of their estates.
              3         21.    The Debtors are unable to procure financing in the form of unsecured credit
              4   allowable under section 503(b)(1) of the Bankruptcy Code, as an administrative expense
              5   under section 364(a) or (b) of the Bankruptcy Code, or solely based on the grant of an
              6   administrative expense priority pursuant to section 364(c)(1) of the Bankruptcy Code.
              7   The Debtors are also unable to obtain secured credit allowable solely under section
              8   364(c)(2) or 364(c)(3) of the Bankruptcy Code. The Debtors have been unable to
              9   procure the necessary financing on terms more favorable than the financing offered by
             10   the DIP Lender pursuant to the DIP Agreement.
             11         22.    The marketing process for this facility was narrowly tailored based on the
             12   Debtors’ needs. The Debtors compiled a short list of appropriate lenders to solicit,
             13   derived from existing networks of Paladin, the Debtors’ counsel, and the Committee’s
             14   professionals. The Debtors made targeted phone calls to those parties in order to
             15   describe the opportunity and elicit interest. The parties who were interested in exploring
             16   further signed a non-disclosure agreement (“NDA”) and received access to diligence
             17   information. As part of the diligence process, the Debtors’ professionals were made
             18   available for calls with interested parties. In total, the Debtors contacted six potential
             19   lenders, including Serene, the Debtors’ existing DIP lender, and a firm that provides
             20   more traditional litigation financing. Of those parties, three executed NDAs and
             21   received access to diligence, and only one party – the proposed DIP Lender here –
             22   provided an indication of interest towards a DIP facility.
             23                                 IV.    LEGAL ARGUMENT.
             24   A.    The Debtors Should Be Authorized to Access the DIP Loan Facility.
             25         23.    Section 364(c) of the Bankruptcy Code authorizes a debtor to obtain
             26   postpetition secured financing, subject to approval of the Court. Section 364(c) requires

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              1   a finding, made after notice and a hearing, that a debtor seeking postpetition financing
              2   on a secured basis cannot “obtain unsecured credit allowable under section 503(b)(1)
              3   of [the Bankruptcy Code] as an administrative expense.” 11 U.S.C. § 364(c).
              4         24.    In evaluating proposed postpetition financing under section 364(c) of the
              5   Bankruptcy Code, courts perform a qualitative analysis and generally consider various
              6   factors including whether:
              7                a.      unencumbered credit or alternative financing without superpriority
              8                        status is available to the debtor;
              9                b.      the credit transactions are necessary to preserve assets of the estate;
             10                c.      the terms of the credit agreement are fair, reasonable, and adequate;
             11
                               d.      the proposed financing agreement was negotiated in good faith and
             12                        at arm’s length and entry thereto is an exercise of sound and
             13                        reasonable business judgment and in the best interest of the debtors’
                                       estate and their creditors; and
             14
                               e.      the proposed financing agreement adequately protects prepetition
             15                        secured creditors.
             16
                  See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first
             17
                  three factors in making a determination under section 364(c)); In re Crouse Group, Inc.,
             18
                  71 B.R. 544 (Bankr. E.D. Pa. 1987) (same); Bland v. Farmworker Creditors, 308 B.R.
             19
                  109, 113-14 (S.D. Ga. 2003) (applying all factors in making a determination under
             20
                  section 364(d)).
             21
                        25.    For the reasons discussed herein, including the terms of the DIP Loan
             22
                  Facility, as well as the unavailability of actionable alternative sources of financing, the
             23
                  Debtors satisfy the standards required to access postpetition financing on a superpriority
             24
                  claim basis under section 364(c) of the Bankruptcy Code.
             25
             26

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              1   B.    The Debtors Cannot Obtain Postpetition Financing on More Favorable
              2         Terms.
              3         26.    In demonstrating that credit is not available without the protections
              4   afforded by section 364(c) of the Bankruptcy Code, a debtor need only make a good
              5   faith effort. See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y.
              6   1990) (approving financing facility and holding that debtor made reasonable efforts to
              7   satisfy the standards of section 364(c) to obtain less onerous terms where debtor
              8   approached four lending institutions, was rejected by two, and selected the least onerous
              9   financing option from the remaining two lenders); see also 42 In re Snowshoe Co., 789
             10   F.2d 1085, 1088 (4th Cir. 1986) (holding “[t]he statute imposes no duty to seek credit
             11   from every possible lender before concluding that such credit is unavailable”); In re
             12   Phoenix Steel Corp., 39 B.R. 218, 222 (D. Del. 1984) (holding the debtor satisfied its
             13   burden to show an inability to obtain credit on other terms through its time and effort
             14   spent trying to obtain credit on alternative terms and conditions).
             15         27.    Moreover, where few lenders likely can or will extend the necessary credit
             16   to a debtor, “it would be unrealistic and unnecessary to require [the debtor] to conduct
             17   such an exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113
             18   (Bankr. N.D. Ga. 1988), aff d sub nom., Anchor Sav. Bank FSB v. Sky Valley, Inc., 99
             19   B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Stanley Hotel, Inc., 15 B.R. 660, 663
             20   (D. Colo. 1981) (holding that bankruptcy court’s finding that two national banks refused
             21   to grant unsecured loans was sufficient to support conclusion that section 364
             22   requirement was met).
             23         28.    Given their current financial condition, financing arrangements, and
             24   capital structure, the Debtors are unable to obtain alternative sources of litigation
             25   financing other than the DIP Lender, and are not able to obtain unsecured credit
             26   allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code.

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              1         29.    As described above, the Debtors, in consultation with their advisors,
              2   reached out to potential third-party financing options, all of which were unwilling or
              3   unable to provide postpetition financing on any reasonable basis. In light of the unique
              4   nature of the requested funding and the facts of this case, one can understand the limited
              5   interest in the financial sector to provide this financing. Thus, the Debtors, in
              6   consultation with their advisors, engaged in arm’s-length negotiations with the DIP
              7   Lender to obtain postpetition financing on the best possible terms.
              8   C.    The DIP Loan Facility is Necessary to Maximize the Value of the Debtors’
              9         Estates.
             10         30.    As debtors in possession, the Debtors have a fiduciary duty to protect and
             11   maximize the value of their estates. See In re Mushroom Transp. Co., 382 F.3d 325,
             12   339 (3d Cir. 2004). The DIP Loan Facility, if approved, will provide working capital
             13   critical to funding the Debtors’ litigation efforts, which will provide a path for the
             14   Debtors to maximize recovery for the benefit of their creditors. As described above, the
             15   Debtors have limited cash resources to fund litigation efforts and pursue recoveries from
             16   third parties that would maximize the distributions to investor creditors without the
             17   financing requested under the Motion. Accordingly, the Debtors have an immediate
             18   need to obtain the postpetition financing to, among other things, litigate the claims
             19   arising out of the Ponzi scheme and maximize the value of the assets of their estates.
             20   D.    The Terms of the DIP Facility Are Fair, Reasonable, and Adequate under
             21         the Circumstances.
             22         31.    In considering whether the terms of postpetition financing are fair and
             23   reasonable, courts consider the terms in light of the relative circumstances of both the
             24   debtor and the proposed lender. In re L.A. Dodgers LLC, 457 B.R. 308, 312 (Bankr. D.
             25   Del. 2011) (stating that approval of DIP financing requires terms that are “fair,
             26   reasonable and adequate, given the circumstances of the debtor-borrower and the

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              1   proposed lender”); In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo.
              2   2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank &
              3   Trust Co. (In re Ellingsen MacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a
              4   debtor may have to enter into hard bargains to acquire funds). The appropriateness of a
              5   proposed financing facility should also be considered in light of current market
              6   conditions.
              7         32.     As described above without access to the proceeds of the DIP Loan
              8   Facility, the Debtors will lack sufficient liquidity to pursue litigation to maximize the
              9   value of the Debtors’ estates. Ultimately, the Debtors engaged with the DIP Lender and
             10   successfully negotiated the DIP Loan Facility. The Debtors believe that the DIP Loan
             11   Facility provides, among other things, (a) necessary liquidity for the Debtors to pursue
             12   the value-maximizing process for the benefit of all parties in interest and (b) economic
             13   terms that (i) were the result of arm’s-length negotiations with the DIP Lender, (ii) are
             14   an integral component of the overall terms of the DIP Loan Facility, and (iii) were
             15   required by the DIP Lender as consideration for the DIP Loan Facility.
             16         33.     Given the Debtors’ need to obtain postpetition financing for the benefit of
             17   all parties in interest, the terms of the DIP Loan Facility are fair, appropriate, reasonable,
             18   and in the best interests of the Debtors, their estates, and their creditors. As described
             19   in the DIP Declaration, the terms of the DIP Loan Facility were negotiated over a period
             20   of several weeks in good faith and at arm’s-length as required by section 364(e) of the
             21   Bankruptcy Code, with all parties represented by experienced advisors.
             22   E.    Entry into the DIP Documents Reflects the Debtors’ Reasonable Business
             23         Judgment.
             24         34.     A debtor’s decision to enter into a postpetition lending facility under
             25   section 364 of the Bankruptcy Code is governed by the business judgment standard. See
             26   In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del 1994) (noting that

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              1   the interim loan, receivable facility and asset based facility were approved because they
              2   “reflect[ed] sound and prudent business judgment [were] reasonable under the
              3   circumstances and in the best interests of TWA and its creditors”); Ames Dep’t Stores,
              4   Inc., 115 B.R. at 40 (“cases consistently reflect that the court’s discretion under section
              5   364 is to be utilized on grounds that permit reasonable business judgment to be
              6   exercised so long as the financing agreement does not contain terms that leverage the
              7   bankruptcy process and powers or its purpose is not so much to benefit the estate as it
              8   is to benefit parties in interest”); Group of Institutional Holdings v. Chicago Mil. St. P.
              9   & Pac. Ry., 318 U.S. 523, 550 (1943); In re Simasko Prod. Co., 47 B.R. 444, 449
             10   (Bankr. D. Colo. 1985) (“Business judgments should be left to the board room and not
             11   to the Court.”); In re Lifeguard Indus., Inc., 37 B.R. 3, 17 (Bankr. S.D. Ohio 1983)
             12   (same).
             13         35.    Bankruptcy courts typically defer to the debtors’ business judgment on the
             14   decision to borrow money unless such decision is arbitrary and capricious. See In re
             15   Trans World Airlines, Inc., 163 B.R. at 974. In fact, “[m]ore exacting scrutiny would
             16   slow the administration of the debtor’s estate and increase its cost, interfere with the
             17   Bankruptcy Code’s provision for private control of administration of the estate and
             18   threaten the court’s ability to control a case impartially.” Richmond Leasing Co. v.
             19   Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).
             20         36.    For the reasons set forth above, the Debtors submit that the entry into the
             21   DIP Loan Facility is a reasonable exercise of their business judgment. The DIP Loan
             22   Facility will provide the Debtors with sufficient liquidity necessary to maintain their
             23   business operations and pursue value-maximizing litigation, and the terms of the DIP
             24   Loan Facility, which are the result of good faith, arm’s length negotiations, are the best
             25   available to the Debtors.
             26

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              1   F.    The Debtors Should Be Authorized to Pay the Fees and Payments
              2         Required by the DIP Lender In Connection with the DIP Loan Facility.
              3         37.    The Debtors have agreed, subject to Court approval, to pay certain fees and
              4   other payments to the DIP Lender, including a fee of $25,000 payable to the DIP
              5   Lender’s counsel as consideration for the DIP Lender’s due diligence and work to close
              6   the DIP Loan Facility (the “DIP Fees”). The Debtors understand that the DIP Fees are
              7   an integral component of the overall terms of the DIP Loan Facility and were required
              8   by the DIP Lenders as consideration for the extension of postpetition financing after
              9   arm’s length and good faith negotiations. Moreover, the DIP Fees are, taken as a whole
             10   with the economics of the DIP Loan Facility, reasonable and generally consistent with
             11   debtor in possession financings in other similar cases. Accordingly, the Court should
             12   authorize the Debtors to pay the DIP Fees.
             13   G.    DIP Lenders Should Be Deemed Good-Faith Lenders.
             14         38.    Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right
             15   to collect on loans extended to a debtor, and its right in any lien securing those loans,
             16   even if the authority of the debtor to obtain such loans or grant such liens is later
             17   reversed or modified on appeal. Section 364(e) of the Bankruptcy Code provides that:
             18
                               The reversal or modification on appeal of an authorization
             19                under this section [364 of the Bankruptcy Code] to obtain
             20                credit or incur debt, or of a grant under this section of a
                               priority or a lien, does not affect the validity of any debt so
             21                incurred, or any priority or lien so granted, to an entity that
             22                extended such credit in good faith, whether or not such entity
                               knew of the pendency of the appeal, unless such authorization
             23                and the incurring of such debt, or the granting of such priority
             24                or lien, were stayed pending appeal.
                        39.    As explained herein, and in the DIP Declaration, the DIP Documents are
             25
                  the result of: (a) the Debtors’ reasonable judgment that the DIP Lender provided the
             26

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              1   best (and only possible) postpetition financing option available under the
              2   circumstances; and (b) extended arm’s-length, good-faith negotiations between the
              3   Debtors and the DIP Lender. The Debtors submit that the terms and conditions of the
              4   DIP Documents are reasonable under the circumstances, and the proceeds of the DIP
              5   Loan Facility will be used only for purposes that are permissible under the Bankruptcy
              6   Code. Accordingly, the Court should find that the DIP Lender is a “good faith” lender
              7   within the meaning of section 364(e) of the Bankruptcy Code and are entitled to all of
              8   the protections afforded by that section.
              9   H.    Modification of the Automatic Stay.
             10         40.    The DIP Order provides that the automatic stay under section 362 of the
             11   Bankruptcy Code is modified to permit the DIP Lender to exercise, upon the occurrence
             12   and during the continuation of any Event of Default under the DIP Documents, all rights
             13   and remedies provided in the DIP Documents without further order of or application to
             14   the Court. However, the DIP Lender must provide the Debtors and various other parties
             15   with five business days’ notice before exercising such enforcement rights or remedies
             16   in respect of their collateral. During such period, the Debtors and other parties in interest
             17   may seek an emergency hearing to contest whether an Event of Default has occurred
             18   and is continuing.
             19         41.    Stay modification provisions of this sort are common features of
             20   postpetition financing facilities and, in the Debtors’ business judgment, are reasonable
             21   under the circumstances. Accordingly, the Movants request that the Court modify the
             22   automatic stay solely to the extent contemplated by the DIP Documents and the DIP
             23   Order.
             24   I.    Bankruptcy Rule 6004 Should Be Waived.
             25         42.    With respect to any aspect of the relief sought herein that constitutes a use
             26   of property under section 363(b) of the Bankruptcy Code, the Movants seek a waiver of

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              1   the notice requirements under Bankruptcy Rule 6004(a), to the extent not satisfied, and
              2   of the fourteen-day stay under Bankruptcy Rule 6004(h). As described above, the relief
              3   that the Movants seek in this Motion is immediately necessary for the Debtors to be
              4   able to administer the Chapter 11 Cases and maximize the value of their estates. The
              5   Movants thus submit that the requested waiver of the notice requirements of Bankruptcy
              6   Rule 6004(a) and of the fourteen-day stay imposed by Bankruptcy Rule 6004(h) is
              7   appropriate, as the exigent nature of the relief sought herein justifies immediate
              8   unstayed relief.
              9                                          V.     NOTICE
             10         43.    Notice of this Motion is being given to the Limited Mailing List as required
             11   in the court’s Order Granting Debtors’ Ex Parte Motion for Entry of Order: (I) Limiting
             12   Scope of Notice; (II) Authorizing Service to Investors by Email; and (III) Granting
             13   Related Relief [Dkt. No. 63] for use in the jointly administered Chapter 11 Cases [Dkt.
             14   No. 164]. The Movants respectfully submit that, in light of the nature of the requested
             15   relief, no further notice is necessary or required.
             16                                    VI.        CONCLUSION
             17         WHEREFORE, for the foregoing reasons, and such additional reasons as may be
             18   advanced at or prior to the hearing regarding this Motion, the Movants respectfully
             19   request that the court enter the proposed DIP Order granting the relief requested herein
             20   and such other and further relief as the court may deem just and proper under the
             21   circumstances.
             22
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              1       DATED this 23rd day of February 2024.
              2                                BUCHALTER
                                               A Professional Corporation
              3
              4
                                               By          /s/ Dakota Pearce
              5                                     Dakota Pearce (WSBA 57011)
              6                                     BERNARD D. BOLLINGER, JR. (Admitted Pro
                                                    Hac Vice)
              7                                     KHALED TARAZI (Admitted Pro Hac Vice)
                                                    BUCHALTER, a Professional Corporation
              8                                     Counsel to Debtors and Debtors in Possession
              9
                                                    And
             10
             11                                     JULIAN I. GURULE (Admitted Pro Hac Vice)
                                                    O’MELVENY & MYERS LLP
             12
                                                    Co-Counsel to Debtors and Debtors in Possession
             13
             14
             15                                By         /s/ Armand J. Kornfeld
             16                                     Armand J. Kornfeld (WSBA 17214)

             17                                     AIMEE S. WILLIG (WSBA 22859)
                                                    JASON WAX (WSBA 41944)
             18                                     BUSH KORNFELD LLP
             19                                     Attorney for the Official Committee of Unsecured
                                                    Creditors
             20
             21                                     And
             22
                                               By           /s/ John T. Bender
             23                                     John T. Bender (WSBA 49658)
             24
                                                    CORR CRONIN LLP
             25
                                                    Special Counsel for the Official Committee of
             26                                     Unsecured Creditors
                  JOINT MOTION FOR ORDER AUTHORIZING DEBTORS TO                       BUCHALTER
                  OBTAIN SUPPLEMENTAL DEBTOR-IN-POSSESSION                      1420 FIFTH AVENUE, SUITE 3100
                                                                                   SEATTLE, WA 98101-1337
                  FINANCING                                                       TELEPHONE: 206.319.7052

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                           EXHIBIT 1




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 9
10                              UNITED STATES BANKRUPTCY COURT
11                              EASTERN DISTRICT OF WASHINGTON

12
      In re:                                                           Chapter 11
13
14 ICAP ENTERPRISES, INC., et al.,                                     Lead Case No. 23-01243-WLH11
                                                                       Jointly Administered
15
      Debtors. 1
16                                                                     ORDER (I) AUTHORIZING THE
                                                                       DEBTORS TO OBTAIN
17
                                                                       SUPPLEMENTAL POSTPETITION
18                                                                     SECURED FINANCING; (II)
                                                                       GRANTING SUPERPRIORITY
19
                                                                       ADMINISTRATIVE EXPENSE
20                                                                     CLAIMS; AND (III) GRANTING
                                                                       RELATED RELIEF
21
22
23
      1 The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-

      01261-11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11);
      Vault Holding 1, LLC (23-01256-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income
24    Fund, LLC (23-01253-11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific
      Income 5 Fund, LLC (23-01249-11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11);
25    Senza Kenmore, LLC (23-01254-11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap
      Broadway, LLC (23-01252-11); VH 1121 14th LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows
26    Townhomes LLC (23-01262-11); iCap @ UW, LLC (23-01244-11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer
      Village LLC (23-01263-11); iCap Funding LLC (23-01246-11); iCap Management LLC (23-01268-11); iCap Realty, LLC (23-
      01260-11); Vault Holding, LLC (23-01270-11); iCap Pacific Development LLC (23-01271-11); iCap Holding LLC (23-01272-
27    11); iCap Holding 5 LLC (23-01273-11); and iCap Holding 6 LLC (23-01274-11).

28    ORDER AUTHORIZING DEBTORS TO
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 1          Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors
 2 in possession (the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter
 3 11 Cases”) and the unsecured creditors’ committee appointed in these Chapter 11
 4 Cases (as amended on November 9, 2023 [Dkt. No. 147], the “Committee” and
 5 together with the Debtors, the “Movants”), pursuant to sections 105, 362, 363,
 6 364(c)(1), 364(c)(2), 364(c)(3), and 364(e) of Title 11 of the United States Code, 11
 7 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), and Rules 2002, 4001(c), and 9014
 8 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the
 9 corresponding local rules of the United States Bankruptcy Court for the Eastern
10 District of Washington (the “Local Rules”), seeking authorization for the Debtors
11 to, among other things:
12          i.     obtain    post-petition     loans,     advances,    and     other    financial
13                 accommodations (the “DIP Loans”) in an aggregate principal amount
14                 not to exceed $5,000,000 pursuant to the terms and conditions of the
15                 DIP Documents (as defined below) and this order (the “Order”);
16          ii.    enter into, be bound by, and perform under (a) a debtor-in-possession
17                 credit facility (the “DIP Loan Facility”), pursuant to the Debtor-In-
18                 Possession Loan and Security Agreement dated as of February 23,
19                 2024, by and among the Debtors and iCap DIP Finance Group LLC (the
20                 “DIP Lender”), which agreement is attached hereto as Exhibit 1 (as the
21                 same may be amended, restated, supplemented, waived, or otherwise
22                 modified from time to time, the “DIP Agreement”) and (b) the
23                 documents related to the DIP Agreement (together with the DIP
24                 Agreement, the “DIP Documents”);
25
26    2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in
27 the Motion.
   ORDER AUTHORIZING DEBTORS TO                     2
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1         iii.   grant to the DIP Lender first priority liens on all Causes of Action (as
 2                defined in the DIP Agreement) and all proceeds recovered by the Loan
 3                Parties pursuant to the Causes of Action including, without limitation,
 4                any real property assets other than those addressed in Section 4.1(b) of
 5                the DIP Agreement, to secure the DIP Loan Facility and all obligations
 6                owing and outstanding thereunder and under the DIP Agreement, as
 7                applicable, and this Order, as applicable (collectively, the “DIP
 8                Obligations”), subject only to prior payment of the Carve-Out (as
 9                defined below), pursuant to section 364(c)(2) of the Bankruptcy Code;
10         iv.    grant to the DIP Lender liens on all of the Debtors’ real property (the
11                “Real Property”) to secure the DIP Loan Facility and the DIP
12                Obligations, subject only to the Carve-Out and the Permitted Liens (as
13                defined in the DIP Agreement), including, but not limited to, the liens
14                existing as of the Closing Date (as defined in the DIP Agreement) in
15                favor of Serene Investment Management, LLC (“Serene”) encumbering
16                the Real Property, pursuant to section 364(c)(3) of the Bankruptcy
17                Code;
18         v.     grant to the DIP Lender an allowed superpriority administrative
19                expense claim pursuant to section 364(c)(1) of the Bankruptcy Code in
20                respect of all amounts advanced to the Debtors under the DIP
21                Agreement;
22         vi.    use the proceeds of DIP Loans, subject to the terms, restrictions, and
23                other conditions of the DIP Agreement and this Order, to (a) pay the
24                Fees (as defined in the DIP Agreement), (b) pay certain costs,
25                premiums, fees, and expenses related to the Chapter 11 Cases, and
26                (c) fund working capital and other needs of the Loan Parties (as defined
27
      ORDER AUTHORIZING DEBTORS TO                3
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1                in the DIP Agreement), including, but not limited to, funding the
 2                investigation and/or pursuit of any litigation claims held by the Debtors
 3                and prepetition payments to taxing authorities previously authorized by
 4                the court, in each case, to the extent permitted under the DIP
 5                Agreement;
 6         vii.   vacate and modify the automatic stay imposed by section 362 of the
 7                Bankruptcy Code solely to the extent necessary to implement and
 8                effectuate the terms of the DIP Documents and this Order; and
 9         viii. waive, to the extent applicable, any stay of the immediate effectiveness
10                of this Order imposed by the Bankruptcy Code or the Bankruptcy
11                Rules, such that this Order is immediately effective upon its entry on
12                the court’s docket.
13         The hearing on the Motion having been held by this court on March 27, 2024
14 (the “Hearing”); and
15         It appearing that due and appropriate notice of the Motion, the relief requested
16 therein, and the Hearing was served by the Debtors on the Limited Mailing List
17 approved by this court [Dkt. Nos. 63 and 164]; and
18         This court having reviewed the Motion and any responses and objections
19 thereto, the Declaration of Lance Miller in Support of the Supplemental Debtor in
20 Possession Financing Motion, the Supplemental Declaration of Lance Miller in
21 Support of Postpetition Financing and Related Relief (the “Miller Declaration”), and
22 the Declaration of Jeffrey H. Kinrich in Support of Postpetition Financing and
23 Related Relief (the “Kinrich Declaration” and together with the Miller Declaration
24 the “Ponzi Declarations”), the other filings made by the Movants and any other
25 supporting briefs, the evidence and testimony presented at the Hearing; and it
26 appearing that granting the relief requested in the Motion on a final basis is necessary
27
      ORDER AUTHORIZING DEBTORS TO                 4
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1 to avoid immediate and irreparable harm to the Debtors, and is otherwise fair and
 2 reasonable and in the best interests of the Debtors, their estates and their creditors,
 3 and is essential for the preservation of the value of the Debtors’ property; and all
 4 objections, if any, to the entry of this Order having been withdrawn, resolved or
 5 overruled by the court; and after due deliberation and consideration and good and
 6 sufficient cause appearing therefor,
 7              THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF
 8 FACT AND CONCLUSIONS OF LAW:
 9              A.        Petition. On September 29 and 30, 2023 (as applicable, the “Petition
10 Date”)3, the Debtors filed voluntary petitions under chapter 11 of the Bankruptcy
11 Code. The Debtors continue as debtors-in possession pursuant to sections 1107(a)
12 and 1108 of the Bankruptcy Code.
13              B.        Jurisdiction and Venue. The court has jurisdiction over this case and
14 the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.
15 Venue in this court over the Chapter 11 Cases and the Motion is proper pursuant to
16 28 U.S.C. §§ 1408 and 1409.
17              C.        Notice. Under the circumstances, the notice given by the Debtors of the
18 Motion, the Hearing and the relief granted under this Order constitutes due and
19 sufficient notice thereof and complies with section 102(1) of the Bankruptcy Code,
20 Bankruptcy Rules 2002 and 4001(c) and Local Rule 4001-2.
21              D.        Findings and Conclusions Regarding Ponzi Scheme. Based upon the
22 court’s review of the record, including, without limitation, the Ponzi Declarations,
23 the testimony given at the Hearing, and other supporting briefs and admissible
24
25
26    3 Certain of the Debtors filed their own chapter 11 cases on September 29, September 30, November 8, and November 14, 2023.

      “Petition Date” as used herein will refer to the earliest of the Debtors’ respective filing dates, and “Chapter 11 Cases” includes all
27    of the Debtors’ cases, irrespective of when they were filed.
      ORDER AUTHORIZING DEBTORS TO                                       5
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 1 evidence, the court finds and concludes that for years during the prepetition period
 2 (the “Ponzi Period”) the Debtors’ business enterprise operated as a Ponzi scheme.
 3         (i)   Ponzi Scheme Findings. iCap has all of the hallmarks of a Ponzi
 4 scheme. During the Ponzi Period:
 5               a. iCap’s businesses operated with negative cash flow since inception.
 6               b. iCap conducted minimal legitimate business operations, did not
 7                    generate any profits on a standalone basis, and used new investors
 8                    to pay returns to earlier investors.
 9               c. The source of payments to initial iCap investors was from cash
10                    infused by new iCap investors.
11               d. iCap’s business revenue was not sufficient to continue its operations
12                    and, accordingly, iCap relied upon increasing fundraising and
13                    commingling cash. Fundraising became the near-exclusive source
14                    for the Debtors’ capital.
15               e. The vast majority of funds received by iCap were from investors and
16                    external lenders rather than business operations.
17               f. To attract new investors, iCap management repeatedly disseminated
18                    false and misleading financial information through quarterly
19                    newsletters and investment calls.
20               g. Rather than structure its real estate investments as equity
21                    investments, iCap chose to raise capital from investors through
22                    privately placed debentures under which investors were promised
23                    interest rates ranging from 6% to 15%.
24               h. iCap encouraged investors to “roll over” their investments, rather
25                    than cash out at maturity.
26
27
      ORDER AUTHORIZING DEBTORS TO                  6
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1         (ii)   Ponzi Scheme Conclusions of Law.
 2                a. A Ponzi scheme “consists of funneling proceeds received from new
 3                    investors to previous investors in the guise of profits from the
 4                    alleged business venture, thereby cultivating an illusion that a
 5                    legitimate profit-making business opportunity exists and inducing
 6                    further investment.” Donell v. Kowell, 533 F.3d 762, 767 n. 2 (9th
 7                    Cir.2008). Proof of a Ponzi scheme can take different forms but
 8                    generally consists of evidence that “(1) deposits were made by
 9                    investors; (2) the Debtor conducted little or no legitimate business
10                    operations as represented to investors; (3) the purported business
11                    operations of the Debtor produced little or no profits or earnings;
12                    and (4) the source of payments to investors was from cash infused
13                    by new investors.” See Kathy Bazoian Phelps & Hon. Steven
14                    Rhodes, The Ponzi Book: Unraveling Ponzi Schemes at § 2.03
15                    (quoting Rieser v. Hayslip (In re Canyon Sys. Corp.), 343 B.R. 615,
16                    630 (Bankr. S.D. Ohio 2006)); Fisher v. Sellas (In re Lake States
17                    Commodities, Inc.), 272 B.R. 233, 242 (Bankr.N.D.Ill.2002) (citing
18                    Floyd v. Dunson (In re Ramirez Rodriguez), 209 B.R. 424, 431
19                    (Bankr.S.D.Tex.1997), aff’d sub nom. Fisher v. Page, 2002 WL
20                    31749262 (N.D. Ill. Dec. 3, 2002)). Courts will consider a broad
21                    swatch of evidence of fraud for a Ponzi scheme.
22         E.     Findings Regarding the Post-Petition Financing. Without prejudice to
23 the rights of any other non-Debtor party in interest, the Debtors admit, stipulate,
24 acknowledge and agree that:
25
26
27
      ORDER AUTHORIZING DEBTORS TO                 7
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1         (i)     The Debtors have requested from the DIP Lender, and the DIP Lender
 2 is willing to extend, the DIP Loans on the terms and conditions set forth in this Order
 3 and the DIP Agreement.
 4         (ii)    Need for Post-petition Financing. The Debtors have limited cash
 5 resources to fund litigation efforts and pursue recoveries from third parties to
 6 maximize the ultimate distribution to investor creditors without the financing
 7 requested under the Motion. The ability of the Debtors to obtain sufficient working
 8 capital and liquidity through the proposed post-petition financing arrangements with
 9 the DIP Lender as set forth in this Order and the DIP Agreement is vital to the
10 Debtors’ ability to maximize the value of the assets of their bankruptcy estates (as
11 defined under section 541 of the Bankruptcy Code, the “Estates”). Accordingly, the
12 Debtors have an immediate need to obtain the post-petition financing to, among
13 other things, preserve and maximize the value of the assets of their Estates.
14         (iii)   No Credit Available on More Favorable Terms. The Debtors are unable
15 to procure financing in the form of unsecured credit allowable under section
16 503(b)(1) of the Bankruptcy Code, as an administrative expense under section 364(a)
17 or (b) of the Bankruptcy Code, or solely based on the grant of an administrative
18 expense priority pursuant to section 364(c)(1) of the Bankruptcy Code. The Debtors
19 are also unable to obtain secured credit allowable solely under section 364(c)(2) or
20 364(c)(3) of the Bankruptcy Code. The Debtors have been unable to procure the
21 necessary financing on terms more favorable than the financing offered by the DIP
22 Lender pursuant to the DIP Agreement.
23         (iv)    No Additional Post-Petition Borrowing. Until such time as all DIP
24 Obligations are indefeasibly paid in full in cash, the Debtors shall not in any way or
25 at any time seek allowance of any administrative expense claim against the Debtors
26 of any kind or nature whatsoever, including, without limitation, claims for any
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 1 administrative expenses of the kind specified in, or arising or ordered under sections
 2 105, 326, 328, 330, 331, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 546(d),
 3 552(b), 726, 1113 and 1114 of the Bankruptcy Code that is superior to or pari passu
 4 with the Superpriority Claim (as defined below) provided herein, except with respect
 5 to the Carve-Out.
 6         (v) No Priming of DIP Liens. Until such time as all DIP Obligations are
 7 indefeasibly paid in full in cash, the Debtors shall not in any way prime or seek to
 8 prime (or otherwise cause to be subordinated in any way) the liens provided to the
 9 DIP Lender by offering a subsequent lender or any party-in-interest a superior or
10 pari passu lien or claim with respect to the DIP Collateral pursuant to section 364(d)
11 of the Bankruptcy Code or otherwise, except with respect to the Carve-Out;
12         (vi) Business Judgment and Good Faith Pursuant to Section 364(e). The terms
13 of the DIP Loan Facility and this Order reflect the Debtors’ exercise of their prudent
14 business judgment, and are supported by reasonably equivalent value and fair
15 consideration. The terms and conditions of the DIP Agreement and this Order have
16 been negotiated in good faith and at arms’ length by and among the Debtors and the
17 DIP Lender, with all parties being represented by counsel. Any credit extended under
18 the terms of this Order shall be deemed to have been extended in good faith by the
19 DIP Lender, as that term is used in section 364(e) of the Bankruptcy Code.
20         (vii) Good Cause. The relief requested in the Motion and granted pursuant
21 to the terms of this Order is necessary, essential, and appropriate, and is in the best
22 interests of and will benefit the Debtors, their creditors, and their Estates, as its
23 implementation will, among other things, provide the Debtors with the necessary
24 liquidity to preserve and maximize the value of the Debtors’ Estates for the benefit
25 of all the Debtors’ creditors, and avoid immediate and irreparable harm to the
26 Debtors, their creditors, and their assets.
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 1         (viii) Immediate Entry. Sufficient cause exists for immediate entry of this
 2 Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in these Chapter
 3 11 Cases has filed or made an objection to the relief sought in the Motion or the
 4 entry of this Order, or any objections that were made (to the extent such objections
 5 have not been withdrawn or resolved) are overruled.
 6         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, THAT:
 7 Section 1.    Authorization and Conditions to Financing.
 8               1.1    Motion Granted. The Motion [Dkt. No. __] is GRANTED in
 9 accordance with Bankruptcy Rule 4001(c)(2) to the extent provided in this Order.
10 Any objections to the Motion with respect to entry of this Order to the extent not
11 withdrawn, waived or otherwise resolved, and all reservations of rights included
12 therein, are denied and overruled on the merits.
13               1.2    Authorization to Borrow and Use Loan Proceeds. To enable the
14 Debtors to continue to preserve the value of their estates, and subject to the terms
15 and conditions of this Order and the DIP Documents, the Debtors are authorized to
16 enter into, be bound by, and perform under the DIP Documents and to borrow in an
17 aggregate principal amount not to exceed $5,000,000, provided that disbursements
18 of such amount are in accordance with the DIP Agreement and this Order. Upon the
19 entry of this Order, the Debtors shall be authorized to continue to use the DIP
20 Collateral (as defined below) to execute and deliver all instruments and documents
21 that may be required or necessary for the performance by the Debtors under the DIP
22 Loan Facility and the creation and perfection of the DIP Liens described in and
23 provided for by this Order and the DIP Documents, and to draw on the DIP Loan
24 Facility to make any disbursement in accordance with the terms and conditions set
25 forth in this Order and the DIP Agreement.
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 1               1.3    DIP Agreement.
 2                      1.3.1 Approval. The DIP Agreement and each term, condition,
 3 and covenant set forth therein are approved. All of such terms, conditions, and
 4 covenants shall be sufficient and conclusive evidence of the borrowing arrangements
 5 by and among the Debtors and the DIP Lender, and of each Debtor’s assumption and
 6 adoption of all of the terms, conditions, and covenants of the DIP Agreement for all
 7 purposes, including, without limitation, to the extent applicable, the payment when
 8 due of all DIP Obligations arising thereunder, including, without limitation, all
 9 principal, interest, and fees and expenses, including, without limitation, all of the
10 DIP Lender’s consultant fees and professional fees (including attorney fees and
11 expenses) as more fully set forth in the DIP Agreement and further provided below,
12 are approved.
13                      1.3.2 Amendment. Subject to the terms and conditions of the
14 DIP Agreement, the Debtors and the DIP Lender may amend, modify, supplement
15 or waive any provision of the DIP Agreement (an “Amendment”) without further
16 approval or order of the court, provided that any Amendment shall require advance
17 notice and opportunity to object of no less than five (5) business days to the U.S.
18 Trustee, the official Committee of Unsecured Creditors that has been appointed by
19 the United States Trustee pursuant to the October 20, 2023 Appointment of
20 Unsecured Creditors Committee [Dkt. No. 102] and the October 30, 2023 Amended
21 Appointment of Unsecured Creditors Committee [Dkt. No. 112] (the “Committee”),
22 and Serene, and if any party objects to the Amendment within the five (5) day notice
23 period, the Debtors may not agree to the Amendment without further order of the
24 court.
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 1 Section 2.    Authorization and Conditions to Financing. The DIP Lender shall have
 2 no obligation to make any loans under the DIP Agreement unless the conditions
 3 precedent to making such loans under the DIP Agreement have been satisfied in full
 4 or waived by the DIP Lender in its sole discretion.
 5               2.1    Priority and Liens.
 6                      2.1.1 Lien Grant. To secure the prompt payment and
 7 performance of any and all obligations of the Debtors to the DIP Lender of whatever
 8 kind, nature or description, absolute or contingent, now existing or hereafter arising,
 9 the DIP Lender shall have and is granted pursuant to this Order valid and perfected
10 (such liens, the “DIP Liens”):
11                      (i)    Pursuant to Section 364(c)(2) of the Bankruptcy Code,
12 first priority security interests and liens in and upon all Causes of Action (as defined
13 in the DIP Agreement) and all proceeds recovered by the Loan Parties pursuant to
14 the Causes of Action including, without limitation, any real property assets other
15 than those addressed in Section 4.1(b) of the DIP Agreement, to secure the DIP Loan
16 Facility and all DIP Obligations, subject only to prior payment of the Carve-Out.
17                      (ii)   Pursuant to Section 364(c)(3) of the Bankruptcy Code,
18 security interests and liens in and upon all of the Real Property, subject only to
19 Carve-Out and the Permitted Liens, including, but not limited to, the liens existing
20 as of the Closing Date (as defined in the DIP Agreement) in favor of Serene
21 encumbering the Real Property.
22                      2.1.2 DIP Collateral. For purposes of this Order, the term “DIP
23 Collateral” shall have the meaning ascribed to the term “Collateral” in the DIP
24 Agreement, which term includes the Real Property and Causes of Action and
25 proceeds thereof.
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 1                      2.1.3 Superpriority Administrative Expense. For all DIP
 2 Obligations now existing or hereafter arising pursuant to this Order, the DIP
 3 Agreement, or otherwise, the DIP Lender is granted an allowed superpriority
 4 administrative expense claim pursuant to section 364(c)(1) of the Bankruptcy Code,
 5 having priority in right of payment over any and all other obligations, liabilities, and
 6 indebtedness of the Debtors, whether now in existence or hereafter incurred by the
 7 Debtors, and over any and all administrative expenses or priority claims of the kind
 8 specified in, or ordered pursuant to, inter alia, sections 105, 326, 328, 330, 331,
 9 503(a), 503(b), 506(c), 507(a), 507(b), 364(c)(1), 546, 726 or 1114 or any other
10 provision of the Bankruptcy Code, whether or not such expenses or claims may
11 become secured by a judgment lien or other nonconsensual lien, levy, or attachment
12 (the “Superpriority Claim”); provided, however, that the Superpriority Claim shall
13 be junior to the Carve-Out and the Serene Superpriority Claim. The Superpriority
14 Claim shall, for purposes of section 1129(a)(9)(A) of the Bankruptcy Code, be
15 considered an administrative expense allowed under section 503(b) of the
16 Bankruptcy Code, shall be against each Debtor on a joint and several basis, subject
17 only to the Carve-Out and the Serene Superpriority Claim. Other than as expressly
18 provided in the DIP Agreement and this Order with respect to the Carve-Out and the
19 Serene Superiority Claim, no costs or expenses of administration, including, without
20 limitation, professional fees allowed and payable under sections 326, 328, 330, or
21 331 of the Bankruptcy Code, or otherwise, that have been or may be incurred in
22 these Chapter 11 Cases, or in any Successor Case (as defined below), and no priority
23 claims are, or will be, senior to, prior to, or on a parity with the Superpriority Claim
24 or the DIP Obligations, or with any other claims of the DIP Lender arising hereunder.
25                      2.1.4 Nature of DIP Liens; Section 552(b); Section 506(c) Lien
26 Priority. The DIP Liens shall be subject to the Carve-Out to the extent provided in
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 1 Section 2.2 of this Order. The DIP Liens and the Superpriority Claim (a) shall not
 2 be subject to sections 510, 542, 549, 550, or 551 of the Bankruptcy Code, the
 3 “equities of the case” exception of section 552 of the Bankruptcy Code, or section
 4 506(c) of the Bankruptcy Code, (b) shall be senior in priority and right of payment
 5 to (y) any lien that is avoided and preserved for the benefit of the Debtors and their
 6 Estates under section 551 of the Bankruptcy Code or otherwise and (z) any
 7 intercompany or affiliate liens or claims of the Debtors, and (c) shall be valid and
 8 enforceable against any trustee or any other estate representative appointed or
 9 elected in the Chapter 11 Cases, whether upon the conversion of any of the Chapter
10 11 Cases to a case under chapter 7 of the Bankruptcy Code or appointed in these
11 Chapter 11 Cases prior to conversion, or in any other proceedings related to any of
12 the foregoing (each, a “Successor Case”), and/or upon the dismissal of any of the
13 Chapter 11 Cases or any Successor Case.
14                     2.1.5 Enforceable Obligations. The DIP Agreement shall
15 constitute and evidence the valid and binding DIP Obligations of the Debtors, which
16 DIP Obligations shall be enforceable against the Debtors, their Estates, and any
17 successors thereto (including, without limitation, any trustee or other estate
18 representative in any Successor Case), and their creditors, in accordance with their
19 terms. No obligation, payment, transfer, or grant of security under the DIP
20 Agreement or this Order shall be stayed, restrained, voidable, avoidable,
21 disallowable, or recoverable under the Bankruptcy Code or under any applicable law
22 (including, without limitation, under section 502(d)), or subject to any avoidance,
23 disallowance, impairment, reduction, setoff, offset, recoupment, recharacterization,
24 disgorgement, subordination (whether equitable, contractual, or otherwise),
25 counterclaim, cross-claim, defense, surcharge, or any other challenge under the
26 Bankruptcy Code or any applicable law or regulation by any person or entity. All
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 1 interest, fees paid or payable, and all reasonable costs and expenses reimbursed or
 2 reimbursable (including, without limitation, all fees, costs and expenses referred to
 3 in the DIP Loan Facility and the DIP Lender’s reasonable attorneys’ fees and
 4 expenses), by the Debtors to the DIP Lender are approved.
 5                      2.1.6 Post-Petition Lien Perfection. This Order shall be
 6 sufficient and conclusive evidence of the priority, perfection, and validity of the DIP
 7 Liens, without any further act and without regard to any other federal, state, or local
 8 requirements or law requiring notice, filing, registration, recording or possession of
 9 the DIP Collateral, or other act to validate or perfect such security interest or lien
10 (each, a “Perfection Act”). Notwithstanding the foregoing, if the DIP Lender shall,
11 in its sole discretion, elect for any reason to file, record, or otherwise effectuate any
12 Perfection Act, the DIP Lender is authorized to perform such act, and the Debtors
13 are authorized and directed to perform such act to the extent necessary or reasonably
14 required by the DIP Lender, notwithstanding the date and time actually
15 accomplished, and in such event, the subject filing or recording office is authorized
16 to accept, file, and/or record any document in regard to such act in accordance with
17 applicable law. The DIP Lender may choose to file, record, or present a certified
18 copy of this Order in the same manner as a Perfection Act, which shall be tantamount
19 to a Perfection Act, and, in such event, the subject filing or recording office is
20 authorized to accept, file, and/or record such certified copy of this Order in
21 accordance with applicable law. Should the DIP Lender so choose and attempt to
22 file, record, and/or perform a Perfection Act, no defect or failure in connection with
23 such attempt shall in any way limit, waive or alter the validity, enforceability,
24 attachment, or perfection of the post-petition liens and security interests granted
25 herein by virtue of the entry of this Order.
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 1                2.2    Carve-Out. The “Carve-Out” is an amount equal to the sum of
 2 (i) all fees required to be paid to the clerk of this court and to the Office of the United
 3 States Trustee under section 1930(a) of title 28 of the United States Code plus
 4 interest at the statutory rate (without regard to the notice set forth in (iii) below);
 5 (ii) fees and expenses of up to $10,000 incurred by a trustee under section 726(b) of
 6 the Bankruptcy Code (which is included in the notice set forth in (iii) below); and
 7 (iii) allowed and unpaid claims for unpaid fees, costs and expenses (the
 8 “Professional Fees”) incurred by persons or firms (“Professional Persons”) retained
 9 by the Debtors or the Committee whose retention is approved by this court pursuant
10 to sections 327, 328 or 363 and 1103 of the Bankruptcy Code (all Professional
11 Persons shall be paid pro rata from the Carve-Out), subject in all respects to the
12 terms of and amendments set forth in this Order and any other interim or other
13 compensation orders entered by this court that are incurred at any time before
14 delivery to the Debtors of a Carve-Out Trigger Notice (as defined below), whether
15 allowed by this court prior to the delivery of a Carve-Out Trigger Notice, subject to
16 any limits imposed by this Order; provided that after the occurrence and during the
17 continuance of an Event of Default and delivery of written notice (the “Carve-Out
18 Trigger Notice”) thereof (which may be by email) to the Debtors, the Debtors’
19 counsel, the United States Trustee, and lead counsel for the Committee, if any, in an
20 aggregate amount not to exceed $200,000; provided further, that nothing herein shall
21 be construed to impair the ability of any party to object to the fees, expenses,
22 reimbursement or compensation described in clauses (i), (ii), or (iii) above, on any
23 grounds. The Carve-Out may be funded to an administrative reserve account (the
24 “Carve-Out Account”), which account shall be used to pay Professional Fees and
25 any unpaid fees to the United States Trustee. As cash flow permits, and assuming
26 no issuance of a Carve-Out Trigger Notice, the Debtors may pay the amounts set
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 1 forth for Professional Fees into the Carve-Out Account. Notwithstanding the
 2 foregoing, the Carve-Out shall not include, apply to or be available for any fees or
 3 expenses incurred by any party in connection with (a) the investigation, initiation,
 4 or prosecution of any claims, causes of action, adversary proceedings, or other
 5 litigation against the DIP Lender or any of its officers, directors, and professionals;
 6 (b) attempts to modify any of the rights granted to the DIP Lender; (c) attempts to
 7 prevent, hinder, or otherwise delay the DIP Lender’s assertion, enforcement, or
 8 realization upon any DIP Collateral in accordance with the DIP Agreement or this
 9 Order (as applicable); provided that nothing in this section shall restrict the rights of
10 parties in interest during the Remedies Notice Period (as defined below); (d) paying
11 any amount on account of any claims arising before the commencement of the
12 Chapter 11 Cases unless such payments are approved by an order of the court; or (e)
13 after delivery of a Carve-Out Trigger Notice, any success, completion, back-end, or
14 similar fees. For the avoidance of doubt and notwithstanding anything to the
15 contrary herein, the Carve-Out shall be senior to all liens and claims securing the
16 DIP Loans, the Superpriority Claim, and any and all other liens or claims existing
17 pursuant to the DIP Loan Facility.
18 Section 3.    Ponzi Scheme.
19               3.1    Given that the Debtors’ business enterprise operated as a Ponzi
20 scheme, the Debtors (and any successor in interest, including any liquidating trustee
21 appointed pursuant to a chapter 11 plan of liquidation or chapter 7 trustee), are
22 entitled to the benefit of the Ponzi scheme presumption with respect to any avoidance
23 and recovery actions related to the Debtors and the Chapter 11 Cases, including any
24 causes of action asserted under sections 544 and 548 of the Bankruptcy Code and
25 any other applicable fraudulent transfer, debtor/creditor law, avoidance and recovery
26 statute or cause of action, claim, or argument.
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 1                 3.2    Because this court has found and concluded that the Debtors’
 2 business enterprise operated as a Ponzi scheme during the Ponzi Period, the
 3 condition precedent to funding under the DIP Agreement set forth in Section 3.1(b)
 4 is satisfied.
 5 Section 4.      Default; Rights and Remedies; Relief from Stay.
 6                 4.1    Events of Default. It shall be an “Event of Default” under this
 7 Order if an “Event of Default” as defined in the DIP Agreement occurs (together
 8 with the passage of any applicable cure period set forth therein).
 9                 4.2    Rights and Remedies Upon Events of Default. Upon the
10 occurrence and continuance of an Event of Default, (x) the DIP Lender may declare
11 (i) the termination, reduction or restriction of any further commitment to the extent
12 any such commitment remains, (ii) all obligations to be immediately due and
13 payable, without presentment, demand, protest, or other notice of any kind, all of
14 which are expressly waived by the Loan Parties (as defined in the DIP Agreement),
15 and (iii) the termination of the DIP Loan Facility and the DIP Loan Documents as
16 to any future liability or obligation of the DIP Lender, but without affecting any of
17 the liens or the obligations under the DIP Loan Facility; or (y) upon the giving of
18 five (5) business days’ notice (the “Remedies Notice Period”) to the Debtors, the
19 U.S. Trustee and the Committee (the “Notice Parties”), the DIP Lender may exercise
20 all other rights and remedies provided for in this Order or the applicable DIP Loan
21 Documents and applicable law, free of the automatic stay of section 362 of the
22 Bankruptcy Code. During the Remedies Notice Period, any party in interest shall be
23 entitled to seek an emergency hearing with the court, for the sole purpose of
24 contesting whether an Event of Default has occurred and/or is continuing.
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 1 Section 5.    Good Faith. The terms of this Order were negotiated in good faith and
 2 at arm’s length by and among the Debtors and the DIP Lender. The DIP Lender shall
 3 be entitled to the full protections of section 364(e) of the Bankruptcy Code.
 4 Section 6.    DIP Lender Rights.
 5               6.1    Collateral Rights. Until all of the DIP Obligations shall have
 6 been indefeasibly paid and satisfied in full, no other party shall seek to enforce any
 7 lien or claim in any DIP Collateral, except Serene with respect to any lien or claim
 8 in the Real Property.
 9               6.2    No Marshaling. The DIP Lender shall not be subject to the
10 equitable doctrine of “marshaling” or any other similar doctrine with respect to any
11 of the DIP Collateral.
12               6.3    Rights With Respect to Real Property. Until the obligations due
13 to Serene have been indefeasibly paid in full, the DIP Lender will not exercise or
14 seek to exercise any rights or remedies with respect to the Real Property or take any
15 action against any Serene with respect to the Real Property.
16               6.4    Voting and Responsive Pleadings. The DIP Lender may vote on
17 any chapter 11 plan, make other filings and make any arguments, pleadings and
18 motions that are, in each case, not otherwise prohibited by the terms of this Order or
19 the DIP Agreement, provided that no such filings, arguments, pleadings, motions or
20 chapter 11 plans shall propose to treat any claims or security interests in a manner
21 inconsistent with this Order.
22 Section 7.    Other Rights and Obligations.
23               7.1    No Modification or Stay of This Order. Notwithstanding
24 Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, 9024, or any other
25 Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Order
26 shall be immediately effective and enforceable upon its entry and there shall be no
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 1 stay of execution or effectiveness of this Order. Notwithstanding (a) any stay,
 2 modification, amendment, supplement, vacating, revocation, or reversal of this
 3 Order, any of the DIP Loan Documents or any term hereunder or thereunder or
 4 (b) the dismissal or conversion of one or more of the Chapter 11 Cases (each, a
 5 “Subject Event”), (i) the acts taken by the DIP Lender in accordance with this Order,
 6 and (ii) the DIP Obligations incurred or arising prior to the DIP Lender’s actual
 7 receipt of written notice from Debtors expressly describing the occurrence of such
 8 Subject Event shall, in each instance, be governed in all respects by the original
 9 provisions of this Order, and the acts taken by the DIP Lender in accordance with
10 this Order and the DIP Agreement, and the DIP Liens granted to the DIP Lender in
11 the DIP Collateral, and all other rights, remedies, privileges, and benefits in favor of
12 the DIP Lender pursuant to this Order and the DIP Agreement, shall remain valid
13 and in full force and effect pursuant to section 364(e) of the Bankruptcy Code.
14               7.2    Power to Waive Rights; Duties to Third Parties. The DIP Lender,
15 in its sole and absolute discretion, shall have the right to waive any of the terms,
16 rights and remedies provided or acknowledged in this Order in respect of the DIP
17 Lender (the “DIP Lender Rights”), with any such waiver to be made in writing by
18 the DIP Lender, and shall have no obligation or duty to any other party with respect
19 to the exercise or enforcement, or failure to exercise or enforce, any DIP Lender
20 Rights. Any waiver by the DIP Lender of any DIP Lender Rights shall not be or
21 constitute a continuing waiver. Any delay in or failure to exercise or enforce any
22 DIP Lender Right shall neither constitute a waiver of such DIP Lender Right, subject
23 the DIP Lender to any liability to any other party, nor cause or enable any other party
24 to rely upon or in any way seek to assert a defense to any obligation owed by the
25 Debtors to the DIP Lender.
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 1                7.3    Reservation of Rights. The terms, conditions, and provisions of
 2 this Order are in addition to and without prejudice to the rights of the DIP Lender to
 3 pursue any and all rights and remedies under the Bankruptcy Code, the DIP
 4 Agreement, or any other applicable agreement or law, including, without limitation,
 5 to seek relief from the automatic stay, to seek an injunction, to oppose any request
 6 for use of cash collateral or granting of any interest in the DIP Collateral or priority
 7 in favor of any other party, to object to any sale of assets, and to object to applications
 8 for allowance and/or payment of compensation of professionals or other parties
 9 seeking compensation or reimbursement from the Debtors’ Estates.
10                7.4    Binding Effect of Order.
11                       7.4.1 Immediately upon entry by this court, this Order shall be
12 valid and binding upon and inure to the benefit of the DIP Lender, the Debtors, and
13 the property of the Debtors’ Estates, all other creditors of any of the Debtors, the
14 Committee, and all other parties in interest and their respective successors and
15 assigns (including any chapter 11 or chapter 7 trustee or any other fiduciary hereafter
16 appointed as a legal representative of the Debtors), in any of the Chapter 11 Cases,
17 any Successor Cases, or upon dismissal of any Case or Successor Case.
18                       7.4.2 Any order dismissing one or more of the Chapter 11 Cases
19 or any Successor Case under section 1112 or otherwise shall be deemed to provide
20 (in accordance with sections 105 and 349 the Bankruptcy Code) that (a) the
21 Superpriority Claim and the DIP Liens shall continue in full force and effect
22 notwithstanding such dismissal until the DIP Obligations are indefeasibly paid and
23 satisfied in full and (b) this court shall retain jurisdiction to the greatest extent
24 permitted by applicable law, notwithstanding such dismissal, for the purposes of
25 enforcing the Superpriority Claim and the DIP Liens. In the event any court modifies
26 any of the provisions of this Order or the DIP Loan Documents following the
27
      ORDER AUTHORIZING DEBTORS TO               21
28    OBTAIN SUPPLEMENTAL DEBTOR-
      IN-POSSESSION FINANCING
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 1 Hearing, (i) such modifications shall not affect the rights or priorities of the DIP
 2 Lender pursuant to this Order with respect to the DIP Collateral or any portion of
 3 the DIP Obligations which arise or are incurred or are advanced prior to such
 4 modifications, and (ii) this Order shall remain in full force and effect except as
 5 specifically amended or modified at such Hearing.
 6               7.5    Restrictions   on   Additional     Financing,   Plan   Treatment.
 7 All postpetition advances and other financial accommodations under the DIP
 8 Agreement and the other DIP Loan Documents are made in reliance on this Order
 9 and there shall not at any time be entered in the Chapter 11 Cases, or in any Successor
10 Case, any order (other than this Order) that authorizes under section 364 of the
11 Bankruptcy Code the obtaining of credit or the incurring of indebtedness secured by
12 a lien or security interest that is equal or senior to a lien or security interest in
13 property in which the DIP Lender hold a lien or security interest, or which is entitled
14 to priority administrative claim status that is equal or superior to that granted to the
15 DIP Lender, herein unless, in each instance (i) the DIP Lender shall have given its
16 express prior written consent with respect thereto (such consent to be in the DIP
17 Lender’s absolute and sole discretion and no such consent being implied from any
18 other action, inaction, or acquiescence by the DIP Lender) or (ii) such other order
19 requires that all DIP Obligations shall first be indefeasibly paid and satisfied in full
20 in accordance with the terms of the DIP Agreement, including, without limitation,
21 all debts and obligations of the Debtors to the DIP Lender which arise or result from
22 the obligations, loans, security interests, and liens authorized herein, on terms and
23 conditions acceptable to the DIP Lender. The security interests and liens granted to
24 or for the benefit of the DIP Lender hereunder, the terms of the DIP Loan Facility
25 approved hereby and the rights of the DIP Lender pursuant to this Order shall not be
26 altered, modified, extended, impaired, or affected by any plan of reorganization or
27
      ORDER AUTHORIZING DEBTORS TO             22
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1 liquidation of the Debtors without the express prior written consent of the DIP
 2 Lender (such consent to be in the DIP Lender’s absolute and sole discretion).
 3               7.6    Term; Termination. Notwithstanding any provision of this Order
 4 to the contrary, the term of the DIP Agreement among the Debtors and the DIP
 5 Lender authorized by this Order may be terminated pursuant to the terms of the DIP
 6 Agreement.
 7               7.7    Objections Overruled. All objections to the entry of this Order
 8 are, to the extent not withdrawn or resolved, overruled.
 9               7.8    No Liability to Third Parties. The DIP Lender shall not: (a) be
10 deemed to be in “control” of the operations of the Debtors; (b) owe any fiduciary
11 duty to the Debtors, their respective creditors, shareholders, or estates; or (c) be
12 deemed to be acting as a “Responsible Person” or “Owner” or “Operator” with
13 respect to the operation or management of the Debtors (as such terms or similar
14 terms are used in the United States Comprehensive Environmental Response,
15 Compensation and Liability Act of 1980 or any similar federal or state statute).
16               7.9    Payments Free and Clear. Any and all payments or proceeds
17 remitted to the DIP Lender pursuant to the provisions of this Order, the DIP
18 Agreement or any subsequent order of this court shall be received free and clear of
19 any claim, charge, assessment, or other liability to the Debtors or the Debtors’
20 Estates.
21               7.10 Final Amount Notice Period. The Debtors shall provide fourteen
22 days’ notice to the Committee prior to borrowing the Final Amount.
23 Section 8.    Findings and Conclusions. This Order shall constitute findings of fact
24 and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and
25 be fully enforceable immediately upon execution hereof. Notwithstanding
26 Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, or 9024 or any other
27
      ORDER AUTHORIZING DEBTORS TO            23
28    OBTAIN SUPPLEMENTAL DEBTOR-
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 1 Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Order
 2 shall be immediately effective and enforceable upon its entry, and there shall be no
 3 stay of execution or effectiveness of this Order.
 4 Section 9.    Order Governs. In the event that any provision of this Order conflicts
 5 with any term of the DIP Loan Documents, this Order shall govern.
 6 Section 10. Retention of Jurisdiction. The court has and will retain jurisdiction to
 7 interpret and enforce the provisions of this Order.
 8                                 ///END OF ORDER///
 9
10 PRESENTED BY:
11
12 By /s/ Dakota Pearce
13 DAKOTA PEARCE (WSBA 57011)
14 BERNARD D. BOLLINGER, JR. (Admitted Pro Hac Vice)
   KHALED TARAZI (Admitted Pro Hac Vice)
15 BUCHALTER, a Professional Corporation
16 Counsel to Debtors and Debtors in Possession
17
18 By /s/ Julian I. Gurule
19
   JULIAN I. GURULE (Admitted Pro Hac Vice)
20 O’MELVENY & MYERS LLP
21 Co-Counsel to Debtors and Debtors in Possession
22
23
24
25
26
27
      ORDER AUTHORIZING DEBTORS TO            24
28    OBTAIN SUPPLEMENTAL DEBTOR-
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   By /s/ Armand J. Kornfeld
 1 ARMAND J. KORNFELD (WSBA 17214)
 2 AIMEE S. WILLIG (WSBA 22859)
 3 JASON WAX (WSBA 41944)
   BUSH KORNFELD LLP
 4 Attorney for the Official
 5 Committee of Unsecured Creditors
 6
 7 By /s/ John T. Bender
   JOHN T. BENDER (WSBA 49658)
 8 CORR CRONIN LLP
 9 Special Counsel for the Official
   Committee of Unsecured Creditor
10
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      ORDER AUTHORIZING DEBTORS TO           25
28    OBTAIN SUPPLEMENTAL DEBTOR-
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                             EXHIBIT 2
                           (TO MOTION)


                             EXHIBIT 1
                            (TO ORDER)




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                                                                               EXECUTION VERSION

                    DEBTOR-IN-POSSESSION LOAN AND SECURITY AGREEMENT

         This DEBTOR-IN-POSSESSION LOAN AND SECURITY AGREEMENT is entered into as of February
 23, 2024 (this “Agreement”), by and among iCap DIP Finance Group LLC (together with his permitted
 successors and assigns, the “Lender”), the parties listed on Schedule I attached hereto (each, a
 “Property Owner” and collectively, the “Property Owners”) the parties listed on Schedule II attached
 hereto (collectively, the “iCap Constituent Party Debtors”; and together with each Property Owner
 (each a debtor or debtor-in-possession under Chapter 11 of the Bankruptcy Code) each individually a
 “Loan Party,” and also referred to as a “Debtor,” and collectively, the “Loan Parties” or “Debtors”).

                                                RECITALS

          WHEREAS, on September 29, 2023, (the “Petition Date”), each Loan Party filed a voluntary
 petition with the Bankruptcy Court initiating a case pending under Chapter 11 of the Bankruptcy Code
 (the “Case” and collectively, the “Cases”) and has continued in the possession of its assets and in the
 management of its business pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

        WHEREAS, each of the Property Owners is the fee owner of the real property listed next to its
 name on Schedule I hereto;

         WHEREAS, the Loan Parties have requested that the Lender make available to the Loan Parties
 debtor-in-possession term loans in an aggregate principal amount of up to of Five Million and 00/100
 Dollars ($5,000,000.00); and

         WHEREAS, Lender is willing to make the Loan (as such term is defined in this Agreement)
 described herein on the terms and conditions set forth in this Agreement.

        NOW THEREFORE, for good and valuable consideration, the receipt of which is hereby
 acknowledged, Lender and Loan Parties agree as follows:

         1.      DEFINITIONS AND CONSTRUCTION.

                 1.1       Definitions. As used in this Agreement, the following terms shall have the
 following definitions:

                  “Accounts” means all presently existing and hereafter arising accounts, contract rights,
 payment intangibles, and all other forms of obligations owing to Loan Parties arising out of the sale or
 lease of goods (including, without limitation, the licensing of software and other technology) or the
 rendering of services by Loan Parties, and any and all credit insurance, guaranties, and other security
 therefor, as well as all merchandise returned to or reclaimed by any Loan Party and the Loan Parties’
 Books relating to any of the foregoing.

                 “Advance” or “Advances” means a cash advance or cash advances under the DIP Loan
 Facility.

                 “Advance Request” has the meaning assigned in Section 2.1(c).




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                  “Affiliate” means, with respect to any Person, any other Person that owns or controls
 directly or indirectly such Person, or any Person that controls or is controlled by or is under common
 control with such Person.

                  “Applicable Law” means, as to any Person, any law (statutory or common), treaty, rule
 or regulation of a Governmental Authority or determination of a court or binding arbitrator, in each case
 applicable to or binding upon such Person or any of its property or to which such Person or any of its
 property is subject.

                “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as
 now and hereafter in effect, or any successor statute.

                “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern District
 of Washington or any court having jurisdiction over the Case from time to time.

                  “Bankruptcy Sale” means a sale pursuant to Section 363 of the Bankruptcy Code of all
 or substantially all assets (measured by both aggregate value and number of assets) and other rights of the
 Debtor(s) on such terms acceptable to Lender in its Permitted Discretion.

                “Bankruptcy Sale Order” means an order of the Bankruptcy Court, in form and
 substance acceptable to Lender approving and authorizing a Bankruptcy Sale.

                  “Business Day” means any day that is not a Saturday, Sunday, or other day on which
 banks in the State of Washington are authorized or required to close.

                 “Case” and “Cases” have the respective meanings set forth in the recitals.

                 “Causes of Action” means claims or causes of action held or controlled by the Loan
 Parties, including without limitation sections 544, 547, 548, and 550 of the Bankruptcy Code.

                 “Chief Restructuring Officer” means Lance Miller.

                 “Closing Date” means the date on which the conditions specified in Section 3.1 are
 satisfied.

                  “Code” means the Uniform Commercial Code as enacted in the State of Washington and
 the State of Delaware, as applicable.

                 “Collateral” means the Real Property and the Causes of Action.

                 “Committee” means an official committee of unsecured creditors appointed in the Cases
 by the U.S. Trustee.

                   “Contingent Obligation” means, as applied to any Person, any direct or indirect
 liability, contingent or otherwise, of that Person with respect to (i) any indebtedness, lease, dividend,
 letter of credit or other obligation of another; (ii) any reimbursement obligations with respect to undrawn
 letters of credit; and (iii) all obligations arising under any agreement or arrangement designed to protect
 such Person against fluctuation in interest rates, currency exchange rates or commodity prices; provided,
 however, that the term “Contingent Obligation” shall not include endorsements for collection or deposit
 in the ordinary course of business. The amount of any Contingent Obligation shall be deemed to be an
 amount equal to the stated or determined amount of the primary obligation in respect of which such



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 Contingent Obligation is made or, if not stated or determinable, the maximum reasonably anticipated
 liability in respect thereof as determined by Lender in good faith; provided, however, that such amount
 shall not in any event exceed the maximum amount of the obligations under the guarantee or other
 support arrangement.

                  “Copyrights” means any and all copyright rights, copyright applications, copyright
 registrations and like protections in each work or authorship and derivative work thereof.

                  “Credit Extension” means each Advance or any other extension of credit by Lender for
 the benefit of the Loan Parties hereunder, including the DIP Loans, but subject to the Final Cap.

                 “Debtor” has the meaning set forth in the recitals.

                 “Default” means any event or circumstance that, with the passage of time or giving of
 notice, would unless cured or waived, constitute an Event of Default.

                 “Default Rate” has the meaning given to such term in Section 2.2(b) hereof.

                 “DIP Loan” has the meaning given to such term in Section 2.1(a) hereof.

                 “DIP Loan Commitment” means an aggregate amount not to exceed Five Million
 Dollars ($5,000,000.00).

                 “DIP Loan Facility” means this Loan facility.

                 “Equipment” means all present and future machinery, equipment, furniture, fixtures,
         vehicles, tools, parts and attachments in which Loan Party has any interest.

                  “ERISA” means the Employee Retirement Income Security Act of 1974, as amended,
 and the regulations thereunder.

                 “Event of Default” has the meaning assigned in Section 8.

                “Excluded Asset” means any and all amounts paid to Loan Parties’ and Committee’s
 bankruptcy professionals as an administrative expense pursuant to an interim or final order of the
 Bankruptcy Court.

                   “Excluded Taxes” means any of the following Taxes imposed on or with respect to
 Lender or required to be withheld or deducted from a payment to Lender, (a) Taxes imposed on or
 measured by net income (however denominated), franchise Taxes, and branch profits Taxes, in each case
 (i) imposed as a result of Lender being organized under the laws of, or having its principal office or its
 applicable lending office located in, the jurisdiction imposing such Tax (or any political subdivision
 thereof) or (ii) that are Other Connection Taxes, (b) any U.S. federal withholding Taxes imposed on
 amounts payable to or for the account of Lender with respect to any obligations under this Agreement
 pursuant to a law in effect on the date Lender acquired its interest in such obligations or on the date that
 Lender changes its lending office, except, in each case, to the extent that amounts with respect to such
 Taxes were payable to Lender immediately before the date it acquired such interest or changed its
 lending office, (c) Taxes that are attributable to Lender’s failure to comply with Section 2.5, and (d) any
 U.S. federal withholding Taxes imposed under FATCA. For purposes of this definition, any reference to
 Lender shall be deemed to include a Foreign Lender.




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                 “Extended Maturity Date” means the first day of the month that is one year after the
 Original Maturity Date.

                  “Facility Fee” has the meaning set forth in Section 2.3(a).

                    “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code, as of the
 date of this Agreement (or any amended or successor version that is substantively comparable and not
 materially more onerous to comply with), any current or future regulations or official interpretations
 thereof and any agreement entered into pursuant to Section 1471(b)(1) of the Internal Revenue Code, any
 intergovernmental agreement entered into in connection with the implementation of such sections of the
 Internal Revenue Code and any fiscal or regulatory legislation, rules or practices adopted pursuant to, or
 official interpretations implementing such, intergovernmental agreements.

                 “Fees” means each and all of the amounts set forth in Section 2.3.

                   “Final Cap” means the sum of Five Million Dollars ($5,000,000.00), exclusive of all
 interest, fees, and expenses, tenderable in the form of DIP Loans by Lender to the Loan Parties upon
 entry of the Final Order and compliance with all other requirements of this Agreement and the Loan
 Documents.

                  “Final Order” means a final order of the Bankruptcy Court (as the same may be
 amended, supplemented, or modified from time to time after entry thereof in accordance with the terms
 thereof) authorizing the Loans, with changes to such form as are satisfactory to the Lender: (i) approving
 the Loan Documents and authorizing the DIP Loan in such amounts as are contemplated by
 Section 2.1(b); and (ii) finding and determining as a matter of law and fact and based on the submission
 by the Debtors and consideration of an evidentiary record, that the Debtors’ pre-petition operations
 constituted a “Ponzi Scheme,” including, without limitation, for purposes of Bankruptcy Code sections
 544, 548, 550, and other applicable avoidance and recovery, debtor/creditor, and related authority.

               “Final Order Entry Date” means the date on which the Final Order is entered by the
 Bankruptcy Court.

                “Future Advance Funding Amount” means an amount equal to Two Million Dollars
 ($2,000,000.00).

                 “GAAP” means generally accepted accounting principles as in effect from time to time.

                 “Governmental Authority” is any nation or government, any state or other political
 subdivision thereof, any agency, authority, instrumentality, regulatory body, court, central bank or other
 entity exercising executive, legislative, judicial, taxing, regulatory or administrative functions of or
 pertaining to government, any securities exchange and any self-regulatory organization.

                  “Highest Lawful Rate” shall mean the maximum nonusurious interest rate, if any, that
 at any time or from time to time may be contracted for, taken, reserved, charged or received on the
 Obligations evidenced by this Agreement and as provided for herein or the other Loan Documents, under
 the laws of such state or states whose laws are held by any court of competent jurisdiction to govern the
 interest rate provisions of the Loan.

                 “Indebtedness” means (a) all indebtedness for borrowed money or the deferred purchase
  price of property or services, including without limitation reimbursement and other obligations with




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  respect to surety bonds and letters of credit, (b) all obligations evidenced by notes, bonds, debentures or
  similar instruments, (c) all Contingent Obligations, and (d) all capital lease obligations.

                  “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
 respect to any payment made by or on account of any obligation of Lender under any Loan Document
 and (b) to the extent not otherwise described in (a), Other Taxes.

                “Initial Funding Amount” means an amount equal to Three Million Dollars
 ($3,000,000.00).

                  “Insolvency Proceeding” means any proceeding commenced by or against any person or
 entity under any provision of the Bankruptcy Code, or under any other bankruptcy or insolvency law,
 including assignments for the benefit of creditors, formal or informal moratoria, compositions, extension
 generally with its creditors, or proceedings seeking reorganization, arrangement, or other relief.

                   “Intellectual Property” means all right, title, and interest owned by Loan Parties in and
 to the following: Copyrights, Trademarks (excluding any U.S. intent-to-use trademark application for
 which a statement of use has not been filed with and duly accepted by the United States Patent and
 Trademark Office, but only until such statement is accepted by the United States Patent and Trademark
 Office) and Patents; trade secrets, design rights, claims for damages by way of past, present and future
 infringement of any of the rights included above, and all license fees and royalties arising from licenses
 or rights to use such intellectual property rights; all amendments, renewals and extensions of any of such
 Copyrights, Trademarks or Patents; and all proceeds and products of the foregoing, including without
 limitation all payments under insurance or any indemnity or warranty payable in respect of any of the
 foregoing.

                   “Inventory” is all “inventory” as defined in the Code in effect on the date hereof with
 such additions to such term as may hereafter be made, and includes without limitation all merchandise,
 raw materials, parts, supplies, packing and shipping materials, work in process and finished products,
 including without limitation such inventory as is temporarily out of a Loan Party’s custody or possession
 or in transit and including any returned goods and any documents of title representing any of the above.

                  “Investment” means any beneficial ownership of (including stock, partnership interest
 or other securities) any Person, or any loan, advance or capital contribution to any Person.

                 “IRC” means the Internal Revenue Code of 1986, as amended.

                 “IRS” means the United States Internal Revenue Service.

                 “Lender Expenses” are all reasonable and documented out-of-pocket expenses and costs
 (including reasonable attorneys’ fees and expenses) for preparing, negotiating, defending and enforcing
 the Loan Documents, or incurred in connection with respect to the Cases, (including, without limitation,
 those incurred in connection with appeals or Insolvency proceedings), all reasonable search, filing,
 recording and title insurance charges and fees related thereto, and other reasonable and documented
 out-of-pocket expenses incurred by or otherwise incurred by the Lender.

                  “Lien” means with respect to the Real Property and any other Collateral, any mortgage,
 lien, deed of trust, charge, pledge, security interest or other encumbrance.

                 “Loan” means the DIP Loans.




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                 “Loan Documents” means, collectively, this Agreement, any note or notes executed by
 Loan Parties, the Final Order and any other agreement entered into in connection with this Agreement,
 all as amended or extended from time to time.

                 “Loan Party” and “Loan Parties” have the meanings set forth in the recitals.

                 “Loan Parties’ Books” means all of the Loan Parties’ books and records including:
 ledgers; records concerning Loan Parties’ assets or liabilities, the Collateral, business operations or
 financial condition; and all computer programs, or tape files, and the equipment, containing such
 information.

                 “Material Adverse Effect” means a material adverse effect on (i) the business,
 operations, condition (financial or otherwise), or prospects of any Loan Party or (ii) the value of the
 Collateral taken as a whole or priority of Lender’s security interests in the Collateral; provided that the
 term “Material Adverse Effect” will not be deemed to exist as a result of the Case or the circumstances
 and events leading up thereto.

                 “Maturity Date” means the earlier of: (i) the Original Maturity Date, unless extended
 (or deemed extended) in accordance with Section 2.1(e), in which case the Maturity Date shall be the
 Extended Maturity or (ii) the date of termination of the DIP Loan Commitments and the acceleration of
 any outstanding extensions of credit under the Loan in accordance with the terms of this Agreement.

                 “Negotiable Collateral” means all letters of credit of which a Loan Party is a
 beneficiary, notes, drafts, instruments, securities, documents of title, and chattel paper, and a Loan
 Party’s Books relating to any of the foregoing.

                “Obligations” means all debt, principal, interest, Fees, and other amounts owed to
 Lender by the Loan Parties pursuant to this Agreement.

                “Original Maturity Date” means the the date that is twelve (12) months after the Final
 Order Entry Date.

                 “Other Connection Taxes” means, with respect to Lender, Taxes imposed as a result of
 a present or former connection between Lender and the jurisdiction imposing such Tax (other than
 connections arising from Lender having executed, delivered, become a party to, performed its obligations
 under, received payments under, received or perfected a security interest under, engaged in any other
 transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any loan
 hereunder or Loan Document).

                  “Other Taxes” means all present or future stamp, court or documentary, intangible,
 recording, filing or similar Taxes that arise from any payment made under, from the execution, delivery,
 performance, enforcement or registration of, from the receipt or perfection of a security interest under, or
 otherwise with respect to, any Loan Document, except any such Taxes that are Other Connection Taxes
 imposed with respect to an assignment.

                 “Patents” means all patents, patent applications and like protections including without
 limitation improvements, divisions, continuations, renewals, reissues, extensions and
 continuations-in-part of the same.

                 “Permitted Discretion” means a determination made in good faith and in the exercise of
 its commercially reasonable (from the perspective of a first priority perfected secured asset based lender)



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 business judgment based on how an asset based lender with similar rights providing a credit facility of
 the type provided under this Agreement would act in similar circumstances at the time with the
 information then available to it.

                 “Permitted Indebtedness” means:

                (a)    Indebtedness of the Loan Parties in favor of Lender arising under this
 Agreement, any other Loan Document;

                 (b)     Indebtedness of the Loan Parties existing as of the Closing Date in favor of
 Serene;

                 (c)     Indebtedness in the form of accrued and unpaid administrative claims in the
 Cases;

                 (d)      Indebtedness to trade creditors incurred in the ordinary course of business,
 including, without limitation, trade payables of a Property Owner relating to the ownership and operation
 of the related Real Property owned by such Property Owner and including professional fees incurred in
 the Cases; and

                 (e)     Indebtedness incurred as a result of endorsing negotiable instruments received in
 the ordinary course of business.

                 “Permitted Investment” means:

                 (a)     Investments existing on the Closing Date disclosed to Lender in writing on or
 before the Closing Date; and

                 (b)     Investments held by the Loan Parties in (i) cash and cash deposits that are
 maintained at a bank or other financial institution that is insured by the Federal Deposit Insurance
 Corporation, or (ii) marketable direct obligations issued or unconditionally guaranteed by the United
 States of America or any agency or any State thereof maturing within one (1) year from the date of
 acquisition thereof, and/or (iii) money market account funds held at financial institutions reasonably
 acceptable to Lender in Lender’s Permitted Discretion.

                 “Permitted Liens” means the following:

                 (a)     Any Liens existing on the Closing Date and disclosed to Lender in writing on or
 before the Closing Date;

                  (b)      Liens existing as of the Closing Date in favor of Serene encumbering the Real
 Property, and any and all other liens, encumbrances and other matters disclosed in “Schedule B-I” of the
 each lender’s title policy issued to Serene.

                 (c)     Any Liens arising under this Agreement or the other Loan Documents;

                 (d)      Liens for taxes, fees, assessments or other governmental charges or levies, either
 not yet delinquent or being contested in good faith by appropriate proceedings;

                 (e)    carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s or other like
 Liens arising in the ordinary course of business which are being contested in good faith and by



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 appropriate proceedings if adequate reserves with respect thereto are maintained on the books of the
 applicable Person, as set forth on Exhibit C;

                 (f)     pledges or deposits in connection with workers’ compensation, unemployment
 insurance and other social security legislation, or letters of credit or guarantees issued in respect thereof,
 other than any Lien imposed by ERISA;

                 (g)     all existing leases in effect as of the Closing Date and any future leases entered
 into by any Property Owner in the ordinary course of its business with a tenant that is not an Affiliate of
 a Loan Party, in each case as the same may be amended, modified or otherwise supplemented. With
 respect to any future Leases, Lender has the right to request a landlord waiver in form and substance
 reasonably acceptable to Lender and the Loan Parties;

                  (h)     Liens arising from judgments, decrees or attachments in circumstances not
 constituting an Event of Default under Sections 8.4 (attachment) or 8.8 (judgments/settlements);

                (i)      the filing of UCC financing statements solely as a precautionary measure in
 connection with operating leases and consignment arrangements;

                  (j)     Subject to Section 6.7, Liens in favor of other financial institutions arising in
 connection with a Loan Party’s deposit accounts held at such institutions to secure standard fees for
 deposit services charged by, but not financing made available by such institutions, provided that Lender
 has a perfected security interest in the amounts held in such deposit accounts;

                 (k)       Liens on cash securing letters of credit constituting Indebtedness permitted
 pursuant to clause (i) of the definition of Permitted Indebtedness;

                 (l)      easements, rights-of-way, covenants, conditions, restrictions, encroachments,
 (including, but not limited to easements or encumbrances in the ordinary course of business for access,
 water and sewer lines, telephone and cable lines, electric lines or other utilities or for other similar
 purposes) and other survey defects protrusions and other similar encumbrances and minor title defects
 affecting real property which were not incurred in connection with the Loan and do not in any case
 materially and adversely interfere with the use of the related Real Property encumbered thereby for its
 intended purposes; and

                 (m)     Liens incurred in connection with the extension, renewal or refinancing of the
 indebtedness secured by Liens of the type described in clauses (a) through (l) above, provided that any
 extension, renewal or replacement Lien shall be limited to the property encumbered by the existing Lien
 in the existing priority of such existing Lien, and the principal amount of the indebtedness being
 extended, renewed or refinanced does not increase.

                  “Person” means any individual, sole proprietorship, partnership, limited liability
 company, joint venture, trust, unincorporated organization, association, corporation, institution, public
 benefit corporation, firm, joint stock company, estate, entity or governmental agency.

                  “Petition Date” has the meaning set forth in the recitals.

                    “Real Property” means the real property more particularly described on Exhibit A and
 set forth next to each Property Owner’s name on Schedule 1.

                  “Responsible Officer” means the Chief Restructuring Officer.



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                 “Serene” means Serene Investment Management, LLC.

                  “Superpriority Claim” means a claim against any Debtor in a Case which is an
 administrative expense claim having priority over any and all administrative expenses, diminution claims
 and all other claims against the Loan Parties, now existing or hereafter arising, of any kind whatsoever,
 including, without limitation, all administrative expenses of the kind specified in Sections 503(b) and
 507(b) of the Bankruptcy Code, and over any and all administrative expenses or other claims arising
 under Sections 105, 326, 328, 330, 331, 364, 365, 503(b), 506(c), 507(a), 507(b), 546, 726, 1113 or 1114
 of the Bankruptcy Code.

                “Tax” or “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
 withholdings (including backup withholding), assessments, fees or other charges imposed by any
 Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

                  “Trademarks” means any trademark and servicemark rights, whether registered or not,
 applications to register and registrations of the same and like protections, and the entire goodwill of the
 business of the Loan Parties connected with and symbolized by such trademarks.

                 “Transfer” has the meaning assigned in Section 7.1.

                 “U.S. Trustee” means the United States Trustee for the Eastern District of Washington.

                 Accounting Terms. All accounting terms not specifically defined herein shall be
 construed in accordance with GAAP (or such other accounting basis selected by the Loan Parties,
 consistently applied and reasonably acceptable to Lender) and all calculations made hereunder shall be
 made in accordance with GAAP (or such other accounting basis selected by the Loan Parties,
 consistently applied and reasonably acceptable to Lender). When used herein, the terms “financial
 statements” shall include the notes and schedules thereto.

         2.      LOAN AND TERMS OF PAYMENT.

               2.1     Credit Extensions. The Loan Parties promise to pay to the order of Lender, in
 lawful money of the United States of America, the aggregate unpaid principal amount of all Credit
 Extensions made by Lender to the Loan Parties hereunder.

                  (a)     Term Loan. Subject to and upon the terms and conditions of this Agreement
 (including the satisfaction (or waiver) of the conditions precedent set forth in Sections 3.1 and 3.2),
 Lender agrees that it will make from time-to-time Credit Extensions in an amount not to exceed its DIP
 Loan Commitment (each, a “DIP Loan”). The initial Credit Extension shall be subject to the conditions
 precedent set forth in Section 3.1 and the Initial Funding Amount shall be extended to the Loan Parties
 substantially concurrent with the Final Order Entry Date and the subsequent Credit Extensions shall be
 subject to the conditions precedent set forth in Section 3.2. Amounts borrowed under this Section 2.1(a)
 may not be reborrowed once repaid.

                  (b)     Subject to and upon the terms and conditions of this Agreement (including the
 satisfaction (or waiver) of the conditions precedent set forth in Sections 3.1 and 3.2), the Loan Parties
 may request, and Lender shall make, Credit Extensions, in increments of not less than $500,000.00 and
 each such Advance Request, not to exceed in the aggregate the DIP Loan Commitment. Notwithstanding
 anything contained herein to the contrary, in no event shall the Lender be obligated to make any DIP
 Loan in excess of the Final Cap.




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                  (c)    Whenever a Loan Party desires an Advance of a DIP Loan, the Loan Party will
 notify Lender by e-mail transmission or telephone no later than 2:00 p.m. Pacific time (each an
 “Advance Request”), with respect to each Advance request, two (2) Business Days (or such shorter
 period as agreed by Lender in its discretion) prior to the date the Advance may be made. Lender is
 authorized to make Advances under this Agreement, based upon instructions received from a
 Responsible Officer or a designee of a Responsible Officer. Lender shall be entitled to rely on any
 telephonic notice given by a person who Lender reasonably believes to be the Responsible Officer or a
 designee thereof. Lender will wire Advances in immediately available federal funds to a deposit account
 identified by the Loan Parties in writing from time to time.

                  (d)      All Advances under this Section 2.1 and all accrued and unpaid interest thereon
 shall be repaid in full by Loan Parties on the Maturity Date.

                  (e)      The Loan Parties shall have a one-time option to extend the term of the Loan
 from the Original Maturity Date to the Extended Maturity Date (the “Option to Extend”). The Loan
 Parties shall venture to provide Lender with written notice of Loan Parties’ request to exercise the Option
 to Extend not less than thirty (30) days prior to then Maturity Date (not giving effect to the Option to
 Extend); provided, however that if all outstanding Advances, including all accrued and unpaid interest
 thereon as set forth in Section 2.1(d) above are not repaid as of the Original Maturity Date, it shall
 automatically be deemed and treated as an election by the Loan Parties to exercise the Option to Extend
 (irrespective of whether or not notice was provided to Lender) and the term of the Loan shall be
 automatically extended to the Extended Maturity Date.

                 2.2     Payment of Interest on the Loans.

                 (a)     Interest Rate for Advances. Subject to Section 2.2(b), the principal amount
 advanced and outstanding by Lender under the DIP Loan Facility shall accrue interest at a per annum rate
 equal to 18% (the “Interest Rate”).

                  (b)     Default Rate. After the occurrence and during the continuance of an Event of
 Default, to the extent permitted by Applicable Law, the principal balance advanced and outstanding shall
 bear interest at a rate per annum which is four percentage points (4%) above the Interest Rate that is
 otherwise applicable thereto (the “Default Rate”). Payment or acceptance of the increased interest rate
 provided in this Section 2.2(b) is not a permitted alternative to timely payment and shall not constitute a
 waiver of any Event of Default or otherwise prejudice or limit any rights or remedies of Lender.

                  (c)    Payment; Interest Computation. Interest only payments on the principal balance
 of the then outstanding Credit Extensions (actually made), are payable monthly in arrears on the first
 calendar day of each month (each a “Payment Date”) and shall be computed on the basis of a 360-day
 year for the actual number of days elapsed. In computing interest, (a) all payments received after 2:00
 p.m. Pacific time on any day shall be deemed received at the opening of business on the next Business
 Day, and (b) the date of the making of any Loan shall be included and the date of payment shall be
 excluded; provided, however, that if any Loan is repaid on the same day on which it is made, such day
 shall be included in computing interest on such Loan.

                 (d)     PIK Interest Election. Provided that the no Event of Default has occurred and is
 continuing as of such date, the Loan Parties may notify Lender in writing two (2) Business Days in
 advance of the related Payment Date of their election to defer the upcoming monthly cash payment of
 interest and have such interest obligation continue to accrue and roll-up into the balance of the Loan (a
 “PIK Interest Election”). The Loan Parties’ decision to make a PIK Interest Election in any given
 month shall not apply to the next succeeding monthly payment unless the Loan Parties timely make a



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 subsequent PIK Interest Election. In no event may the Loan Parties make a PIK Interest Election if doing
 so would cause the outstanding Loan balance to exceed the Final Cap.

                 2.3      Fees. The Loan Parties shall pay to Lender:

                  (a)      Facility Fee. A facility fee in an amount equal to ten percent (10%) of the Initial
 Funding Amount (the “Facility Fee”). The Facility Fee shall be paid as and when proceeds from Causes
 of Action exceed the Litigation Proceed Threshold. Any portion of the Facility Fee that then still remains
 unpaid after the Litigation Proceed Threshold has been exceeded, shall be repaid in full upon the earlier
 of (i) repayment in full of the Obligations at any time and (ii) the Maturity Date;

                  (b)    Repayment Premium. On the Original Maturity Date, the Loan Parties agree to
 pay a premium to Lender (the “Repayment Premium”) equal to 0.3 times the amount of the Credit
 Extensions actually made by Lender to the Loan Parties during the term of this Agreement, minus the
 aggregate amount of interest paid to Lender and/or owed based on the Interest Rate applied to the total
 amount of Credit Extensions actually made by Lender to the Loan Parties during the term of this
 Agreement; provided, however, that interest attributable to the Default Rate during an Event of Default
 shall not be included in the foregoing calculation. If the Option to Extend is exercised (or deemed
 exercised), on the Extended Maturity Date, the Loan Parties will pay an additional amount equal to 0.3
 times the amount of the Credit Extensions actually made by Lender to the Loan Parties during the term of
 this Agreement, minus the aggregate amount of interest paid to Lender and/or owed based on the Interest
 Rate applied the total amount of Credit Extensions actually made by Lender to the Loan Parties during
 the term of this Agreement; provided, however, that interest attributable to the Default Rate during an
 Event of Default shall not be included in the foregoing calculation (the “Extension Premium”). For the
 avoidance of doubt, the Repayment Premium and Extension Premium are fees payable to Lender separate
 from and in addition to the Facility Fee, Lender Expenses, interest (including interest attributable to the
 Default Rate and interest attributable to Section 2.8(b)) and any other amounts or obligations of the Loan
 Parties under this Agreement; and

                 (c)      Lender Expenses.

                          (i)     All Lender Expenses (including reasonable and documented attorneys’
 fees and expenses for documentation and negotiation of this Agreement, incurred through and after the
 Effective Date, shall be paid when due (or, if no stated due date, within ten (10) days of written demand
 from Lender, which Lender Expenses must be fully paid upon the Maturity Date). Lender Expenses are
 subject to a professionals fee expense cap of $150,000.00 in the aggregate (the “Professional Fees
 Cap”). For the avoidance of doubt, the Loan Parties shall be responsible for all Lender Expenses,
 including, without limitation, any and all reasonable and documented expenses of Lender’s counsel,
 professional advisors, or in house administration, but not to exceed the Professional Fees Cap; provided,
 however, that if there is an Event of Default at any time, the Professional Fees Cap shall not apply with
 respect to Lender Expenses incurred during or relating to such Event of Default.

                         (ii)     None of Lender’s attorneys’ fees or disbursements shall be subject to the
 prior approval of the Bankruptcy Court and no recipient of any such payment shall be required to file
 with respect thereto any interim or final fee application with the Bankruptcy Court. Notwithstanding the
 foregoing, the Bankruptcy Court retains all jurisdiction in regard to a dispute between the Loan Parties
 regarding the reasonableness of the asserted Lender Expenses.

                (d)      Transaction Fee. Separate from and in addition to the Lender Expenses, the
 Loan Parties shall pay a transaction fee in the amount of Twenty-Five Thousand Dollars ($25,000.00)
 (the “Transaction Fee”) for fees and costs relating to the due diligence, documentation and other



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 services performed by Lender’s counsel with respect to Lender’s agreement to provide the DIP Loan
 Facility. The Transaction Fee shall be paid directly to the law firm of Shulman Bastian Friedman & Bui,
 LLP, immediately upon execution of this Agreement, but shall be subject to confirmation by the
 Bankruptcy Court pursuant to the Final Order. The Loan Parties shall seek approval of the Transaction
 Fee in connection with approval of this DIP Loan Facility.

                  (e)     Fees Fully Earned. Unless otherwise provided in this Agreement or in a separate
 writing by Lender, the Loan Parties shall not be entitled to any credit, rebate, or repayment of any Lender
 Expenses paid or other fees earned by Lender pursuant to this Agreement, including, without limitation,
 the Facility Fee and the Repayment Premium, notwithstanding any termination of this Agreement or the
 suspension or termination of Lender’s obligation to make Credit Extensions.

                 2.4     Crediting Payments. Lender has the exclusive right to determine the order and
 manner in which all payments with respect to the Obligations may be applied. The Loan Parties shall
 have no right to specify the order or the accounts to which Lender shall allocate or apply any payments
 required to be made by the Loan Parties to Lender or otherwise received by Lender under this Agreement
 when any such allocation or application is not specified elsewhere in this Agreement. Notwithstanding
 anything to the contrary contained herein, any wire transfer or payment received by Lender after
 2:00 p.m. Pacific Time shall be deemed to have been received by Lender as of the opening of business on
 the immediately following Business Day. Whenever any payment to Lender under the Loan Documents
 would otherwise be due (except by reason of acceleration) on a date that is not a Business Day, such
 payment shall instead be due on the next Business Day.

                 2.5     Withholding.

                  (a)     Payments received by Lender from the Loan Parties under this Agreement will
 be made free and clear of and without deduction for any Taxes, except as required by applicable law. If
 any applicable law (as determined in the good faith discretion of the Loan Parties) requires the Loan
 Parties to make any withholding or deduction of any Tax from any such payment, then the Loan Parties
 shall be entitled to make such deduction or withholding and, if such Tax is an Indemnified Tax, then the
 sum payable by the Loan Parties shall be increased to the extent necessary to ensure that, after the
 making of such required withholding or deduction, Lender receives a net sum equal to the sum which it
 would have received had no withholding or deduction been required.

                  (b)     The Loan Parties shall pay the full amount withheld or deducted to the relevant
 Governmental Authority in accordance with applicable law, the Bankruptcy Code, and orders of the
 Bankruptcy Court, and the Loan Parties will, upon request, furnish Lender with proof reasonably
 satisfactory to Lender indicating that the Loan Parties has made such withholding payment.

                  (c)      Notwithstanding anything to the contrary in this Section 2.5, the Loan Parties
 need not make any withholding payment if the amount or validity of such withholding payment is
 contested in good faith by appropriate and timely proceedings or as to which payment in full is bonded or
 reserved against by the Loan Parties. The agreements and obligations of the Loan Parties contained in
 this Section 2.5 shall survive the termination of this Agreement.

                 (d)     Lender, if reasonably requested by the Loan Parties, shall deliver such other
 documentation prescribed by applicable law or reasonably requested by the Loan Parties as will enable
 the Loan Parties to determine whether or not Lender is subject to backup withholding or information
 reporting requirements.




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                  (e)       If Lender determines that it has received a refund of any Taxes as to which it has
 been indemnified pursuant to this Section 2.5 (including by the payment of additional amounts pursuant
 to this Section 2.5), it shall pay to the Loan Parties an amount equal to such refund (but only to the extent
 of indemnity payments made by the Loan Parties under this Section 2.5 with respect to the Taxes giving
 rise to such refund), net of all out-of-pocket expenses (including Taxes) of Lender and without interest
 (other than any interest paid by the relevant Governmental Authority with respect to such refund),
 provided that the Loan Parties, upon the request of Lender, agrees to repay the amount paid over to the
 Loan Parties (plus any penalties, interest or other charges imposed by the relevant taxing authority) to
 Lender in the event Lender is required to repay such refund to such taxing authority.

                  2.6     Term. This Agreement shall become effective on the Closing Date and, subject
 to Section 14.8, shall continue in full force and effect for so long as any Obligations remain outstanding
 or Lender has any obligation to make Credit Extensions under this Agreement. For the avoidance of
 doubt, in no event shall Lender be obligated to make Credit Extensions after the Maturity Date or during
 such time as an Event of Default exists.

                  2.7     Right to Credit Bid. In connection with any sale or disposition of all or any
 portion of the Collateral, including in each case pursuant to Sections 9-610 or 9-620 of the UCC, at any
 sale thereof conducted under the provisions of the Bankruptcy Code, including Section 363 of the
 Bankruptcy Code or as part of restructuring plan subject to confirmation under Section 1129 of the
 Bankruptcy Code, or at any sale or foreclosure conducted by Lender, by a chapter 7 trustee under Section
 725 of the Bankruptcy Code, or otherwise, in each case in accordance with applicable law and, with
 respect to any credit bid, Section 363(k) of the Bankruptcy Code, the Loan Parties hereby give Lender
 the power and right, without assent by such Loan Party, to “credit bid” the full amount of all Obligations
 in order to purchase (either directly or through one or more acquisition vehicles) all or any portion of the
 Collateral.

                 2.8      Causes of Action.

                 (a)     Prepayment. If and to the extent the Loan Parties obtain successful litigation
 recoveries on account of the Causes of Action (“Litigation Proceeds”), in excess of One Million Dollars
 ($1,000,000.00) in the aggregate after payment of all reasonable and customary third-party costs and
 expenses associated with such recoveries including, but not limited to, professional fees and expenses of
 Loan Parties’ counsel (the “Litigation Proceed Threshold”), all Litigation Proceeds actually received
 by the Loan Parties in excess of the Litigation Proceed Threshold (such amounts “Excess Litigation
 Proceeds”) shall be paid to Lender (or its designee) as a pay down of the outstanding Obligations under
 this Agreement within ten (10) Business Days of the Loan Parties’ receipt.

                  (b)      Accrual Election. Notwithstanding anything to the contrary contained in Section
 2.8(a) of this Agreement, if the Loan Parties and the Lender mutually agree (which agreement may be
 documented via e-mail), it shall not be an Event of Default for the Excess Litigation Proceeds to be
 retained by the Loan Parties, and such Excess Litigation Proceeds shall instead accrue interest at an
 interest rate equal to eighteen percent (18%) per annum and all interest accrued on any Excess Litigation
 Proceeds shall be due and payable to Lender on the Maturity Date and shall be excluded from the
 calculation of the Repayment Premium.




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         3.      CONDITIONS OF LOANS.

                  3.1    Conditions Precedent to Initial Credit Extension. The obligation of Lender to
 make the initial Credit Extension of the full Initial Funding Amount is subject to the satisfaction of the
 following conditions precedent:

                 (a)     Lender shall have received, in form and substance satisfactory to Lender, the
 following:

                         (i)     executed copies of this Agreement and the other Loan Documents;

                       (ii)    such other documents, and completion of such other matters, as Lender
 may reasonably deem necessary or appropriate; and

                  (b)     the Final Order Entry Date shall have occurred, and the Final Order shall be in
 full force and effect, shall not have been vacated or reversed, shall not have been modified or amended
 other than as acceptable to Lender and shall not be subject to a stay.

               3.2      Conditions Precedent to the Subsequent Credit Extension. The obligation of
 Lender to make the subsequent Credit Extension, including all or a portion of the Future Advance
 Funding Amount, is further subject to the following conditions:

                  (a)      the representations and warranties contained in Section 5 shall be true and
 correct in all material respects on and as of the date of the Loan Parties’ request for a Credit Extension
 and on the effective date of each Credit Extension as though made at and as of each such date;

                 (b)    no monetary Default or Event of Default shall exist as of the date of the
 extension request or would exist after giving effect to such Credit Extension;

                 (c)      Lender shall have received and reviewed a debtor-in-possession budget
 (“Budget”) from the Loan Parties acceptable to Lender, provided that Lender’s consent and approval of
 the Budget shall not be unreasonably withheld, conditioned or delayed.

         4.      CREATION OF SECURITY INTEREST.

                   4.1     Grant of Security Interest. To secure prompt repayment of any and all
 Obligations and prompt performance by the Loan Parties of each of its covenants and duties under the
 Loan Documents, the Loan Parties grant Lender a continuing security interest in all presently existing
 and hereafter acquired or arising Collateral (subject to Permitted Liens, as set forth herein). Such
 security interest shall constitute:

                  (a)     a valid, perfected first priority Lien on all Causes of Action and all proceeds
 recovered by Loan Parties pursuant to the Causes of Action, including, without limitation, any real
 property assets other than those addressed in Section 4.1(b), below.

                  (b)     a valid, perfected Lien upon all of the Real Property (i.e., the Collateral
 previously pledged to Serene), subject only to Permitted Liens, including, but not limited to, the Liens
 existing as of the Closing Date in favor of Serene encumbering the Real Property.

         The respective rights of Lender and Serene in the same Collateral and any related claims in the
 Cases shall be governed by the terms of the Final Order.



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                  4.2      Delivery of Additional Documentation Required. The Loan Parties shall from
 time to time execute and deliver to Lender, at the request of Lender, all Negotiable Collateral, all
 financing statements, deeds, deeds of trust, bills of sale, security agreements, mortgages, hypothecations,
 real estate transfer documentation, and other documents that Lender may reasonably request, in form
 satisfactory to Lender, to perfect and continue the perfection of Lender’s security interests in the
 Collateral and in order to fully consummate all of the transactions contemplated under the Loan
 Documents. Notwithstanding the foregoing, the Liens granted hereunder shall be and hereby are,
 immediately deemed duly perfected and recorded under all applicable federal or state or other laws as of
 the date of this Agreement, and no notice, filing, mortgage recordation, possession, or other third party
 consent or act shall be required to effect such perfection.

                   4.3     Authorization to File Financing Statements. The Loan Parties hereby
 authorizes Lender to file financing statements, with notice to Loan Parties, with all appropriate
 jurisdictions to perfect or protect Lender’s interest or rights hereunder.

         5.      REPRESENTATIONS AND WARRANTIES.

         Each Loan Party represents and warrants as follows:

                   5.1    Due Organization and Qualification. The Loan Parties are corporations or
 limited liability companies duly existing under the laws of their state of incorporation or registration and
 qualified and licensed to do business in any state in which the conduct of its business or its ownership of
 property requires that it be so qualified, except in each case (other than with respect to their states of
 incorporation) where the failure to do so could not reasonably be expected to cause a Material Adverse
 Effect.

                 5.2      Due Authorization; No Conflict. Subject to the entry of the Final Order and
 the terms hereof, the execution, delivery, and performance of the Loan Documents are within the Loan
 Parties’ powers, have been duly authorized, and are not in conflict with nor constitute a breach of any
 provision contained in the Loan Parties’ Certificate of Incorporation, Article of Organization, or Bylaws,
 nor will they constitute an event of default under any material agreement to which the Loan Parties are a
 party or by which a Loan Parties is bound. The Loan Parties are not in default under any post-petition
 agreements to which it is a party or by which it is bound, except to the extent such default would not
 reasonably be expected to cause a Material Adverse Effect.

                  5.3     No Prior Encumbrances. Each Loan Party holds its Causes of Action, and
 each Property Owner has good and marketable title to its respective Real Property owned by it, free and
 clear of Liens, except for Permitted Liens and subject to any liens set forth in the title commitment
 delivered to Lender and approved at Closing. Set forth as Exhibit A hereto is a complete and accurate
 list of all Real Property owned by each Property Owner, showing, as of the date hereof, the street
 address, state and any other relevant jurisdiction, record owner.

                  5.4     Diligence. The Loan Parties are not aware of any fact, condition or
 circumstance that may materially and adversely affect the assets, liabilities, business, prospects,
 condition or results of operations of the Loan Parties or the Real Property that has not been previously
 disclosed to the Lender in writing

                5.5    Name; Location of Business. The Loan Parties will advise Lender not less than
 ten (10) Business Days in advance of any change in the business headquarters of the Loan Parties.




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 Except as disclosed in the Perfection Certificate, the Loan Parties have not done business under any
 name other than that specified on the signature page hereof.

                 5.6     Litigation. Except as disclosed in writing to Lender, there are no actions or
 proceedings (other than the Cases) pending by or against Loan Party before any court or administrative
 agency in which an adverse decision could reasonably be expected to have a Material Adverse Effect.

                   5.7     Regulatory Compliance. Except for a prepetition deficiency under the Loan
 Parties’ 401(k) plan, to the best of the Loan Parties’ knowledge, the Loan Parties have met the minimum
 funding requirements of ERISA with respect to any employee benefit plans subject to ERISA, and no
 event has occurred resulting from the Loan Parties’ failure to comply with ERISA that is reasonably
 likely to result in the Loan Parties’ incurring any liability that could reasonably be expected to have a
 Material Adverse Effect. The Loan Parties are not required to be registered as an “investment company”
 under the Investment Company Act of 1940. The Loan Parties are not engaged principally, or as one of
 the important activities, in the business of extending credit for the purpose of purchasing or carrying
 margin stock (within the meaning of Regulations T and U of the Board of Governors of the Federal
 Reserve System). To the best of the Loan Parties’ knowledge, the Loan Parties have complied with all
 the provisions of the Federal Fair Labor Standards Act except in each case where the failure to do so
 could not reasonably be expected to cause a Material Adverse Effect. To the best of the Loan Parties’
 knowledge, the Loan Parties have not violated any statutes, laws, ordinances or rules applicable to it, the
 violation of which could reasonably be expected to cause a Material Adverse Effect.

                   5.8     Environmental Condition. To the best of the Loan Parties’ knowledge and
 except as would not reasonably be expected to have a Material Adverse Effect and/or except as otherwise
 disclosed in any property condition reports delivered to Lender in connection with the Loan, none of the
 Loan Parties’ properties or assets has ever been used by the Loan Parties or to the best of the Loan
 Parties’ knowledge, by previous owners or operators, in the disposal of, or to produce, store, handle,
 treat, release, or transport, any hazardous waste or hazardous substance other than in accordance with
 Applicable Law. To the best of the Loan Parties’ knowledge and except as disclosed in any property
 condition reports delivered to Lender in connection with the Loan, none of the Real Property has ever
 been designated or identified in any manner pursuant to any environmental protection statute as a
 hazardous waste or hazardous substance disposal site, or a candidate for closure pursuant to any
 environmental protection statute. To the best of the Loan Parties’ knowledge no lien arising under any
 environmental protection statute has attached to any revenues or to any real or personal property owned
 by the Loan Parties and the Loan Parties have not received a summons, citation, notice, or directive from
 the Environmental Protection Agency or any other federal, state or other governmental agency
 concerning any action or omission by or resulting in the releasing, or otherwise disposing of hazardous
 waste or hazardous substances into the environment.

                  5.9      Taxes. Except as otherwise disclosed to Lender at Closing, the Loan Parties
 have filed or caused to be filed all material tax returns required to be filed, and have paid, or have made
 adequate provision for the payment of, all taxes reflected therein, except (i) for taxes for which filing is
 not yet due, or (ii) for taxes that are being contested in good faith by appropriate proceedings and are
 reserved against (to the extent required by GAAP (or such other accounting basis selected by the Loan
 Parties, consistently applied and reasonably acceptable to Lender) by the Loan Parties, or (iii) to the
 extent taxes are pre-petition taxes, or (iv) to the extent that failure to do so could not reasonably be
 expected to have a Material Adverse Effect.

                  5.10     Subsidiaries. The Property Owners do not own any stock, partnership interest
 or other equity securities of any Person, except for Permitted Investments.




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                  5.11    Government Consents. The Loan Parties have obtained (or will obtain, as and
 when required under Applicable Law) all material consents, approvals and authorizations of, made all
 declarations or filings with, and given all notices to, all governmental authorities that are necessary for
 the continued operation of the Loan Parties’ business as currently conducted, except where the failure to
 do so would not reasonably be expected to cause a Material Adverse Effect.

                 5.12     Deposit and Securities Accounts. The Loan Parties maintain deposit or
 securities accounts only as set forth in the Perfection Certificate.

                  5.13     Full Disclosure. No representation, warranty or other statement made by the
 Loan Parties in any of the Loan Documents contains any untrue statement of a material fact or omits to
 state a material fact necessary in order to make the statements not misleading when made, it being
 recognized by Lender that the projections and forecasts provided by the Loan Parties in good faith and
 based upon assumptions that were reasonable at the time such projections were delivered and are not to
 be viewed as facts and that actual results during the period or periods covered by any such projections
 and forecasts may differ from the projected or forecasted results. No Loan Document has been amended.
 To the Loan Parties actual knowledge, the Loan Documents are each in full force and effect and are not
 subject to any offset, claim, counterclaim or defense in favor of the Loan Parties.

                  5.14     Use of Proceeds. The Loan Parties shall use the proceeds of the Loans in
 accordance with the Final Order exclusively for one or more of the following purposes (subject to any
 additional restrictions on the use of such proceeds and any such cash collateral set forth in the Order):

                 (a)      to pay the Fees;

                 (b)      to the extent not included in Section 5.14(a), to pay certain costs, premiums, fees
 and expenses related to the Case; and

                  (c)      to fund working capital and other needs of the Loan Parties, including, but not
 limited to, funding the investigation and/or pursuit of any litigation claims held by the Debtors.

         Proceeds of the DIP Loan Facility or cash collateral shall not be used (a) by the Debtors, or any
 other party-in-interest, including a Committee, or any of their representatives, to challenge or otherwise
 contest or institute any proceeding of any kind or nature to determine the validity, perfection,
 enforceability or priority of claims or security interests in favor of Lender, or (b) to commence, prosecute
 or defend any claim, motion, proceeding or cause of action of any kind or nature against Lender and its
 agents, attorneys, advisors or representatives including, without limitation, any lender liability claims or
 subordination claims,. Notwithstanding the foregoing, nothing herein shall prohibit the Loan Parties or
 Committee from disputing the alleged occurrence of a default or Event of Default hereunder.

         6.      AFFIRMATIVE COVENANTS.

         Each Loan Party shall do all of the following:

                 6.1      Good Standing. Each Loan Party shall maintain its corporate existence and
 good standing in its jurisdiction of incorporation and maintain qualification in each other jurisdiction in
 which the failure to so qualify could reasonably be expected to have a Material Adverse Effect. Each
 Loan Party shall maintain in force all necessary licenses, approvals, and agreements, the loss of which
 could have a Material Adverse Effect.




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                 6.2       Government Compliance. To the extent applicable, each Loan Party shall
 meet, the minimum funding requirements of ERISA with respect to any employee benefit plans subject to
 ERISA. Loan Party shall comply with all statutes, laws, ordinances and government rules and
 regulations to which it is subject, noncompliance with which could have a Material Adverse Effect.

                 6.3     Financial Statements, Reports, Certificates. The Loan Parties shall deliver
 the following to the Lender:

                  (a)    Commencing 120 days after the Final Order Entry Date, and thereafter on a
 quarterly basis, within 30 days after the end of such quarter, a status report regarding the Causes of
 Action.

                 (b)    all reports filed, including monthly operating reports, filed with the Office of the
 United States Trustee;

                  (c)     [Intentionally Omitted].

                 (d)     (i) together with the reports described in clause (e) below, a report of any legal
 actions (other than claims asserted in the Case) for worker’s compensation, unemployment or
 counter-claims in intellectual property infringement proceedings which are pending against any Loan
 Party that could if adversely determined reasonably be expected to result in a Material Adverse Effect;
 and (ii) promptly upon receipt of notice thereof, a report of (x) any other legal actions (other than the
 Case) pending against a Loan Party that could reasonably be expected to result in liability to a Loan Party
 of One Hundred Thousand Dollars ($100,000.00) or more, or (y) any commercial tort claim acquired by a
 Loan Party;

                 (e)     commencing with the month ending 120 days after the Final Order Entry Date,
 and thereafter on a quarterly basis, within 30 days after the end of such quarter, a report signed by Loan
 Party, in form acceptable to Lender in its Permitted Discretion, listing any applications or registrations
 that a Loan Party has made or filed in respect of any Patents, Copyrights or Trademarks and the status of
 any outstanding applications or registrations, as well as any material change in a Loan Party’s Intellectual
 Property along with an updated Perfection Certificate if any of the information contained in the
 Perfection Certificate delivered to the Lender on the Closing Date is no longer true and correct in all
 respects;

                 (f)   written notice within five (5) Business Days’ of the resignation from or
 termination of employment of any Responsible Officer; and

                (g)       such other financial information as Lender may request from time to time in its
 Permitted Discretion.

        To the extent any of the foregoing reports or financial information are due on a day that is not a
 Business Day, the Loan Parties shall instead deliver such reports or financial information on the next
 Business Day.

                   6.4      Right to Inspect. Lender (through any of its officers, employees, or agents)
 shall have the right, upon reasonable prior notice, from time to time during a Loan Party’s usual business
 hours to inspect Loan Party’s Books and to make copies thereof, to audit a Loan Party’s Accounts and to
 inspect, visit, check, test, and appraise the Collateral in order to verify a Loan Party’s financial condition
 or the amount, condition of, or any other matter relating to, the Collateral; provided that no notice is
 required if an Event of Default has occurred and is continuing and provided further that during the



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 continuance of an Event of Default all cost and fees associated with Lender’s inspection shall be borne
 by the Loan Parties.

                 6.5      Taxes. The Loan Parties shall make due and timely payment or deposit of all
 material Taxes required of it by law (including the Bankruptcy Code), provided that the Loan Parties
 need not make any payment if (i) the amount or validity of such payment is contested in good faith by
 appropriate proceedings and is reserved against (to the extent required by GAAP (or such other
 accounting basis selected by the Loan Parties, consistently applied and reasonably acceptable to Lender))
 by Loan Parties and (ii) the failure to make payment pending such contest could not reasonably be
 expected to result in a Material Adverse Effect.

                 6.6      Insurance.

                  (a)      The Loan Parties, at their expense, shall keep the Collateral insured against loss
 or damage by fire, theft, explosion, sprinklers, and all other hazards and risks (including, but not limited
 to, insurance sufficient to cover personal injuries caused by Loan Parties’ products in an amount not less
 than the Obligations), and in such amounts, as ordinarily insured against by other owners in similar
 businesses conducted in the locations where Loan Parties’ business is conducted on the date hereof.
 Loan Parties shall also maintain insurance relating to Loan Parties’ business, ownership and use of the
 Collateral in amounts and of a type that are customary to businesses similar to Loan Parties’.

                  (b)     All such policies of insurance shall be in such form, with such companies, and in
 such amounts as are reasonably satisfactory to Lender (it being hereby acknowledged by Lender that the
 insurance policies of Loan Parties in place on the Closing Date are satisfactory). All such policies of
 property insurance shall contain a lender’s loss payable endorsement showing Lender as an additional
 loss payee thereof, and all liability insurance policies shall show the Lender as an additional insured and
 Loan Parties shall use commercially reasonable efforts to have such policies specify that the insurer must
 give at least twenty (20) calendar days’ notice to Lender before canceling its policy for any reason (or ten
 (10) calendar days for cancellation for nonpayment of premiums). Upon Lender’s request (which shall
 occur once per year excepting for following the occurrence and during the continuance of an Event of
 Default), Loan Parties shall deliver to Lender certified copies of such policies of insurance and evidence
 of the payments of all premiums therefor. All proceeds payable under any such policy shall, at the option
 of Lender, be payable to Lender to be applied on account of the Obligations.

                  6.7     Accounts. Except as required under the Bankruptcy Code, rules or policies of
 the U.S. Trustee, and/or a Bankruptcy Court order, each Loan Party shall not establish any deposit or
 securities account after the Closing Date without the approval of the Lender and shall use a cash
 management system that is the same as or substantially similar to its prepetition cash management
 system. Any material changes from such prepetition cash management system must be acceptable to the
 Lender in its reasonable discretion.

                  6.8      Notice of Disputes, Claims. The Loan Parties must promptly notify Lender of
 all returns, recoveries, disputes, claims, or litigation proceedings that involve more than One Hundred
 Thousand Dollars ($100,000.00).

                  6.9     Bankruptcy Filings. Not less than two (2) Business Days prior to filing any
 motion requesting approval for debtor-in-possession financing and use of cash collateral, the Loan
 Parties shall send copies of such motions to Lender.




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                 6.10     Further Assurances. At any time and from time to time, the Loan Parties shall
 execute and deliver such further instruments and take such further action as may reasonably be requested
 by Lender to effect the purposes of this Agreement.

                 6.11   Debtor-in-Possession Obligations. Comply in a timely manner with its
 obligations and responsibilities as a debtor-in-possession under the Bankruptcy Code, the rules of
 procedure of the Bankruptcy Court, and any order of the Bankruptcy Court.

                  6.12  First Day Orders. The Loan Parties shall cause all proposed “first day orders”
 submitted to the Bankruptcy Court to be in accordance with and permitted by the terms of this Agreement
 in all respects.

                  6.13   Additional Waivers. The Loan Parties further acknowledge and agree to the
 matters set forth on Exhibit C.

                 6.14    Filing of Motions and Applications. Without the prior written consent of the
 Lender, the Loan Parties shall not apply to the Bankruptcy Court for, or join in or support any motion or
 application seeking, authority to (a) take any action that is prohibited by the terms of any of the Loan
 Documents or the Final Order, (b) refrain from taking any action that is required to be taken by the terms
 of any of the Loan Documents or the Final Order, or (c) permit any Indebtedness (other than any
 Permitted Indebtedness), except as expressly stated in this Agreement or the Final Order.

                  6.15    Superpriority Claim. The Debtors shall not incur, create, assume, suffer to
 exist or permit any other Superpriority Claim that is pari passu with or senior to the claims of the Lender
 against the Loan Parties and as otherwise expressly stated in the Final Order.

         7.       NEGATIVE COVENANTS.

        Other than in accordance with a Bankruptcy Sale Order or a plan of reorganization confirmed by
 the Bankruptcy Court, no Loan Party shall do any of the following:

                 7.1       Dispositions. Convey, sell, lease, transfer or otherwise dispose of any Collateral
 (collectively, a “Transfer”) other than: (i) transfers of (a) non-exclusive licenses and similar
 arrangements for the use of the property (including Intellectual Property) of a Loan Party in the ordinary
 course of business, (b) licenses that could not result in a legal transfer of title of the licensed property but
 that may be exclusive in respects other than territory, (c) licenses relating to discreet geographical areas
 outside of the United States (for the avoidance of doubt and for sake of clarity, however, a Loan Party
 may enter into limited non-competition arrangements with its licensees and similar business partners in
 the ordinary course of business), (d) (i) the Transfer or sale or the Loan Parties’ goods and inventory in
 the ordinary course of business; or (ii) Transfers of Equipment as permitted by this Agreement or the
 order(s) of the Bankruptcy Court, or (iii) assignment of leases or subleases of real property and (e) the
 sale of a Real Property in an arms-length third party sale transaction. To avoid any ambiguity cash may
 be used in the ordinary course of business, subject to the provisions of this Agreement and orders of the
 Bankruptcy Court.

                  7.2     Change in Business; Change in Executive Office. Engage in any business,
 other than the businesses currently engaged in by the Loan Parties and any business substantially similar
 or related thereto (or incidental thereto), or cease to conduct business in the manner conducted by the
 Loan Parties as of the Closing Date; or without thirty (30) calendar days prior written notification to
 Lender (a) relocate its chief executive office or state of incorporation or change its legal name; (b) add
 any new offices or business locations or deliver any portion of the Collateral valued, individually or in



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 the aggregate, in excess of One Hundred Thousand Dollars ($100,000.00) to a bailee other than to a
 bailee and at a location already disclosed in the Perfection Certificate, or (c) without Lender’s prior
 written consent, change the date on which its fiscal year ends.

                7.3     Mergers or Acquisitions. Merge, divide or consolidate, with or into any other
 business organization, or acquire, all or substantially all of the capital stock or property of another
 Person.

                  7.4    Indebtedness. Create, incur, guarantee, assume or be or remain liable with
 respect to any Indebtedness, other than Permitted Indebtedness. Notwithstanding the foregoing, the Loan
 Parties may incur debt payable from only an Excluded Asset with the prior written consent of Lender,
 which shall not be unreasonably withheld.

                  7.5     Encumbrances. Create, incur, assume or suffer to exist any voluntary Lien with
 respect to any of its Real Property except for Permitted Liens, or assign or otherwise convey any right to
 receive income, including the sale of any Accounts, except for Permitted Liens, or enter into any
 agreement with any Person other than Lender not to grant a security interest in, or otherwise encumber,
 any of its property. Notwithstanding the foregoing, the Loan Parties may create a Lien on any Excluded
 Asset.

                 7.6     Distributions. Pay any dividends or make any other distribution or payment on
 account of or in redemption, retirement or purchase of any equity interests, except that the Loan Parties
 may repurchase equity interests from current or former employees, directors, or consultants of the Loan
 Parties in any amount where the consideration for the repurchase is solely the cancellation of
 indebtedness owed by such current or former employees, directors or consultants to the Loan Parties
 regardless of whether an Event of Default exists.

                 7.7      Investments. Directly or indirectly acquire or own, or make any Investment in
 or to any Person, other than Permitted Investments and any Loan Parties ownership interest in any
 subsidiary company in effect as of the Closing Date (including, but not limited to, the Property Owners);
 or maintain or invest any of its property with a Person other than Lender unless such Person has entered
 into an account control agreement with Lender in form and substance satisfactory to Lender.

                 7.8     Transactions with Affiliates. Directly or indirectly enter into or permit to exist
 any material transaction with any Affiliate of the Loan Parties except for transactions that are either
 approved by the Bankruptcy Court or entered into in the ordinary course of a Loan Party’s business, upon
 fair and reasonable terms that are no less favorable to the Loan Parties than would be obtained in an
 arm’s length transaction with a non-affiliated Person.

                 7.9      Compliance. Become an “investment company” or be controlled by an
 “investment company,” within the meaning of the Investment Company Act of 1940, or become
 principally engaged in, or undertake as one of its important activities, the business of extending credit for
 the purpose of purchasing or carrying margin stock, or use the proceeds of any Credit Extension for such
 purpose. Fail to meet the minimum funding requirements of ERISA, permit a Reportable Event or
 Prohibited Transaction, as defined in ERISA, to occur, or fail to comply with the Federal Fair Labor
 Standards Act, or violate any law or regulation, which violation could reasonably be expected to have a
 Material Adverse Effect.




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         8.      EVENTS OF DEFAULT.

         Any one or more of the following events shall constitute an Event of Default by the Loan Parties
 under this Agreement:

                 8.1       Payment Default. Except to the extent the holder thereof would be stayed from
 exercising remedies as a result of the Cases after accounting for the relief provided in the Final Order, if
 the Loan Parties fail to pay, when due, (a) any regularly scheduled payment of interest under the Loan on
 the applicable payment date or (B) the Obligations in full on the Maturity Date (provided, however it is
 expressly understood and agreed that the Loan Parties failure to pay the Obligations in full on the
 Original Maturity Date shall be treated as the Loan Parties’ automatic exercise of the Option to Extend
 the term of the Loan to the Extended Maturity Date and such occurrence shall not be an Event of
 Default). In the event of (a) or (b) Lender shall provide the Loan Parties, the Committee, and the U.S.
 Trustee written notice that an Event of Default for non-payment has occurred;

                 8.2      Covenant Default.

                  (a)     If a Loan Party violates or fails to perform any obligation under Article 6 or
 Article 7 and such failure continues for ten (10) Business Days after Lender delivers written notice
 thereof to the Loan Parties. In such event Lender shall provide the Loan Parties, the Committee, and the
 U.S. Trustee written notice that an Event of Default for non-compliance of a specified obligation under
 Article 6 or Article 7 has occurred; and

                  (b)     If a Loan Party fails or neglects to perform or observe any other material term,
 provision, condition, covenant contained in this Agreement not specified in Section 8.2 above, or in any
 of the other Loan Documents, for five (5) Business Days after Lender delivers written notice thereof to
 the Loan Parties, provided, however, that if the default cannot by its nature be cured within the five (5)
 Business Days period or cannot after diligent attempts by the Loan Parties be cured within such five (5)
 Business Days period, and such default is likely to be cured within a reasonable time, then the Loan
 Parties shall have an additional reasonable period (which shall not in any case exceed thirty (30) calendar
 days) to attempt to cure such default, and within such reasonable time period the failure to have cured
 such default shall not be deemed an Event of Default, but no Credit Extensions will be made. In such
 case and if an Event of Default is triggered under this Section 8.2(b), Lender may notify the Committee,
 and the U.S. Trustee.

                 8.3      [Intentionally Omitted].

                  8.4      Attachment. Other than in connection with the Cases in each case, if any
 material portion of the Loan Parties’ assets are attached, seized, subjected to a writ or distress warrant, or
 are levied upon, or come into the possession of any trustee, receiver or person acting in a similar capacity
 and such attachment, seizure, writ or distress warrant or levy has not been removed, discharged or
 rescinded within thirty (30) calendar days without the same being contested by the Loan Parties in good
 faith, or if the Loan Parties are enjoined, restrained, or in any way prevented by court order from
 continuing to conduct all or any material part of its business affairs, or if a judgment or other claim
 becomes a Lien or material monetary encumbrance upon any material portion of the Loan Parties’ assets,
 or if a notice of lien, levy, or assessment is filed of record with respect to any material portion of the
 Loan Parties’ assets by the United States Government, or any department, agency, or instrumentality
 thereof, or by any state, county, municipal, or governmental agency, and the same is not removed,
 discharged, rescinded or paid within thirty (30) calendar days after receipt of written notice from Lender
 delivered to the Loan Parties, the Committee, and the U.S. Trustee, provided that none of the foregoing
 shall constitute an Event of Default where such action or event is stayed or an adequate bond has been



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 posted pending a good faith contest by the Loan Parties (provided that no Credit Extensions will be
 required to be made during such cure period);

                  8.5     Assets. Provided that such conditions are not cured within thirty (30) calendar
 days after receipt of written notice from Lender delivered to the Loan Parties, the Committee, and the
 U.S. Trustee: (a) the allowance of any claim or claims under Section 506(c) of the Bankruptcy Code
 against or with respect to any Collateral, which rights under Section 506(c) of the Bankruptcy Code shall
 be waived (subject only to and effective upon entry of the Final Order), (b) any Person attempts to apply
 the doctrine of marshalling with respect to the Lender, which shall be waived (subject only to and
 effective upon entry of the Final Order), or (c) any Person attempts to apply the “equities of the case”
 exception set forth in Section 552(b) of the Bankruptcy Code, which shall be waived (subject only to and
 effective upon entry of the Final Order);

                 8.6      Other Agreements. Except to the extent the counterparty thereto would be
 stayed from exercising remedies as a result of the Case, if there is an event of default in any material
 agreement to which any of the Loan Parties is a party or by which it is bound resulting in a right by a
 third party or parties, whether or not exercised, to accelerate the maturity of any Indebtedness in an
 amount in excess of One Hundred Thousand Dollars ($100,000.00) or which could have a Material
 Adverse Effect;

                8.7     Lien Priority. If the Obligations shall not have the priority contemplated by this
 Agreement, or the entry of any order in the Cases avoiding or requiring repayment of any portion of the
 payments made on account of the Obligations;

                   8.8      Judgments. If a judgment or judgments for the payment of money in an
 amount, individually or in the aggregate, of at least One Hundred Thousand Dollars ($100,000.00)
 (excluding amounts covered by insurance or third party indemnification) shall be rendered against the
 Loan Parties and shall remain unsatisfied, unvacated or unstayed pending appeal for a period of sixty
 (60) calendar days after entry of such judgement (provided that no Credit Extensions will be made prior
 to the satisfaction or stay of such judgment);

                  8.9      Misrepresentations. If any material misrepresentation or material misstatement
 exists now or hereafter in any warranty or representation set forth herein or in any Loan Document or
 certificate delivered to Lender and prepared by any Responsible Officer pursuant to this Agreement. In
 such event Lender shall provide the Loan Parties, the Committee and the U.S. Trustee written notice that
 an Event of Default for breach of this Section 8.9 has occurred;

                8.10   Cases. Any Case shall be dismissed or converted to a case under Chapter 7 of
 the Bankruptcy Code without the consent of the Lender;

                 8.11    Trustee. A trustee under Chapter 7 or Chapter 11 of the Bankruptcy Code or an
 examiner with enlarged powers relating to the operation of the business (powers beyond those set forth in
 Section 1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the Bankruptcy Code shall
 be appointed in the Case;

                 8.12    Cash Collateral. An order of the Bankruptcy Court shall be entered denying or
 terminating use of Cash Collateral by the Loan Parties;

                 8.13    Relief from Stay. The Bankruptcy Court shall enter an order or orders granting
 relief from any stay of proceeding (including, the automatic stay applicable under Section 362 of the
 Bankruptcy Code to the holder or holders of any security interest) to (i) permit foreclosure (or the



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 granting of a deed in lieu of foreclosure or the like) on any assets of any of the Loan Parties constituting
 Collateral for the DIP Loan which have a value in excess of One Hundred Thousand Dollars
 ($100,000.00) in the aggregate or (ii) permit other actions that would have a Material Adverse Effect on
 the Loan Parties or their estates (taken as a whole);

                  8.14    Order. The Final Order (on and after the Final Order Entry Date) shall cease to
 create a valid and perfected first priority Lien on the Collateral or to be in full force and effect, shall have
 been in any material respect reversed, modified, amended, stayed, vacated, or subject to stay pending
 appeal, without prior written consent of Lender. In such event Lender shall provide the Loan Parties, the
 Committee, and the U.S. Trustee written notice that an Event of Default for breach of this Section 8.14
 has occurred;

                 8.15    Compliance with Orders. Any of the Loan Parties shall fail to comply with the
 Final Order (on and after the Final Order Entry Date) in any material respect;

                  8.16     Other Financing. (a) Except as permitted in the Final Order, the entry of any
 order of the Bankruptcy Court granting to any third party a Superpriority Claim or Lien pari passu with
 or senior to that granted to and/or for the benefit of the Lender hereunder without the prior written
 consent of Lender in Lender’s Permitted Discretion, or (b) the Loan Parties shall make any payment of
 principal or interest or otherwise on account of any Indebtedness or payables other than the Obligations
 under the DIP Facility, or other than in accordance with the Budget approved by Lender; or

                  8.17     Avoidance. (a) Any suit or action is commenced against the Lender by the Loan
 Parties that constitutes a challenge or that asserts a claim or seeks a legal or equitable remedy that would
 have the effect of subordinating the claim or Lien of the Lender, or (b) the Bankruptcy Court rules in
 favor of any Person in any suit or action commenced against the Lender by or on behalf of such Person
 (after the Bankruptcy Court has granted such Person standing to commence such suit or action).

         The Court shall have jurisdiction to resolve any dispute between the Loan Parties and Debtors
 regarding whether an Event of Default has occurred;

         9.       LENDER’S RIGHTS AND REMEDIES.

                  9.1     Rights and Remedies. During the continuance of an Event of Default, Lender
 may, at its election, without notice of its election and without demand, do any one or more of the
 following, all of which are authorized by the Loan Parties:

                   (a)     Subject to the Final Order, Lender may, notwithstanding the provisions of
 Section 362 of the Bankruptcy Code, without any application, motion or notice to, hearing before, or
 order from, the Bankruptcy Court, suspend the DIP Loan Facility with respect to additional Advances,
 whereupon any additional Advances shall be made or incurred in Lender’s sole discretion so long as such
 Default or Event of Default is continuing. If any Event of Default has occurred and is continuing,
 notwithstanding the provisions of Section 362 of the Bankruptcy Code, without any application, motion
 or notice to, hearing before, or order from, the Bankruptcy Court, except as otherwise expressly provided
 herein, the rate of interest applicable to the Loan shall be increased to the Default Rate.

                 (b)    Subject to the Final Order, Lender may, notwithstanding the provisions of
 Section 362 of the Bankruptcy Code, without any application, motion or notice to, hearing before, or
 order from, the Bankruptcy Court: (i) terminate the DIP Loan Facility with respect to further Advances;
 (ii) reduce the DIP Loan Commitments from time to time; (iii) declare all or any portion of the
 Obligations, including all or any portion of the Loan to be forthwith due and payable, all without



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 presentment, demand, protest or further notice of any kind, all of which are expressly waived by
 Borrower; or (iv) exercise any rights and remedies provided to Lender under the Loan Documents or at
 law or equity, including all remedies provided under the Bankruptcy Code; and pursuant to the Final
 Order, the automatic stay of Section 362 of the Bankruptcy Code shall be modified and vacated to permit
 Lender to exercise its remedies under this Agreement and the Loan Documents, without further notice,
 application or motion to, hearing before, or order from, the Bankruptcy Court; provided, however,
 notwithstanding anything to the contrary contained herein, that Lender shall be permitted to exercise any
 remedy in the nature of a liquidation of, or foreclosure on, any interest of Borrower in the Collateral only
 upon five (5) Business Days’ prior written notice to Borrower, counsel approved by the Bankruptcy
 Court for the Committee and the U.S. Trustee and as set forth in the Final Order (when applicable).

                   (c)     Waivers by the Loan Parties. Except as otherwise provided for in this
 Agreement (including any notice required pursuant to any of the other Loan Documents) or that is not
 capable of being waived by Applicable Law, each Loan Party waives: (a) presentment, demand and
 protest and notice of presentment, dishonor, notice of intent to accelerate, notice of acceleration, protest,
 default, nonpayment, maturity, release, compromise, settlement, extension or renewal of any or all
 commercial paper, accounts, contract rights, documents, instruments, chattel paper and guaranties at any
 time held by Lender on which a Loan Party may in any way be liable, and hereby ratifies and confirms
 whatever Lender may do in this regard, (b) all rights to notice and a hearing prior to Lender’s taking
 possession or control of, or to Lender’s attachment or levy upon, the Collateral or any bond or security
 that might be required by any court prior to allowing Lender to exercise any of its remedies, and (c) the
 benefit of all valuation, appraisal, marshaling and exemption laws.

                  9.2     Lender’s Liability for Collateral. So long as Lender complies with reasonable
 commercial lending practices, Lender shall not in any way or manner be liable or responsible for: (a) the
 safekeeping of the Collateral; (b) any loss or damage thereto occurring or arising in any manner or
 fashion from any cause; (c) any diminution in the value thereof; or i) any act or default of any carrier,
 warehouseman, bailee, forwarding agency, or other person whomsoever. All risk of loss, damage or
 destruction of the Collateral shall be borne by the Loan Parties.

                  9.3     Remedies Cumulative. Lender’s rights and remedies under this Agreement, the
 Loan Documents, and all other agreements shall be cumulative. Lender shall have all other rights and
 remedies not inconsistent herewith as provided under the Code, by law, or in equity, subject to the
 requirements of the Bankruptcy Code. No exercise by Lender of one right or remedy shall be deemed an
 election, and no waiver by Lender of any Event of Default on the Loan Parties’ part shall be deemed a
 continuing waiver. No delay by Lender shall constitute a waiver, election, or acquiescence by it. No
 waiver by Lender shall be effective unless made in a written document signed on behalf of Lender and
 then shall be effective only in the instance and for the purpose for which it was given.

                  9.4      Protective Payments. If any Loan Party fails to obtain the insurance called for
 by Section 6.6 or fails to pay any premium thereon or fails to pay any other amount which a Loan Party is
 obligated to pay under this Agreement or any other Loan Document or which may be required to preserve
 the Collateral, Lender may obtain such insurance or make such payment, and all amounts so paid by
 Lender are Lender Expenses and immediately due and payable, bearing interest at the then highest rate
 applicable to the Obligations, and secured by the Collateral. Lender will make reasonable efforts to
 provide the Loan Parties with notice of Lender obtaining such insurance at the time it is obtained or
 within a reasonable time thereafter. No payments by Lender are deemed an agreement to make similar
 payments in the future or Lender’s waiver of any Event of Default.

               9.5      Demand; Protest. Except for any notice required pursuant to the Loan
 Documents or that is not capable of being waived by Applicable Law, the Loan Parties waive demand,



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 protest, notice of protest, notice of default or dishonor, notice of payment and nonpayment, notice of any
 default, nonpayment at maturity, release, compromise, settlement, extension, or renewal of accounts,
 documents, instruments, chattel paper, and guarantees at any time held by Lender on which Borrower
 may in any way be liable.

                   9.6      Savings Clause. Notwithstanding any other provision herein, the aggregate
 interest rate charged with respect to any of the Obligations, including all charges or fees in connection
 therewith deemed in the nature of interest under applicable law shall not exceed the Highest Lawful Rate.
 If the rate of interest (determined without regard to the preceding sentence) under this Agreement at any
 time exceeds the Highest Lawful Rate, the outstanding amount of the Advances made hereunder shall
 bear interest at the Highest Lawful Rate until the total amount of interest due hereunder equals the
 amount of interest which would have been due hereunder if the stated rates of interest set forth in this
 Agreement had at all times been in effect. In addition, if when the Advances made hereunder are repaid
 in full the total interest due hereunder (taking into account the increase provided for above) is less than
 the total amount of interest which would have been due hereunder if the stated rates of interest set forth
 in this Agreement had at all times been in effect, then to the extent permitted by law, Borrower shall pay
 to Lender an amount equal to the difference between the amount of interest paid and the amount of
 interest which would have been paid if the Highest Lawful Rate had at all times been in effect.
 Notwithstanding the foregoing, it is the intention of Lender and the Loan Parties to conform strictly to
 any applicable usury laws. Accordingly, if Lender contracts for, charges, or receives any consideration
 which constitutes interest in excess of the Highest Lawful Rate, then any such excess shall be cancelled
 automatically and, if previously paid, shall at Lender’s option be applied to the outstanding amount of the
 Advances made hereunder or be refunded to the Loan Parties.

                   9.7    Waiver of Consequential Damages; Etc. To the fullest extent permitted by
 Applicable Law, no Loan Party shall assert, and each Loan Party hereby waives, any claim against any
 Indemnified Party, on any theory of liability, for special, indirect, consequential or punitive damages (as
 opposed to direct or actual damages) arising out of, in connection with, or as a result of, this Agreement,
 any other Loan Document or any agreement or instrument contemplated hereby, the transactions
 contemplated hereby or thereby, any Loan or the use of the proceeds thereof. No Indemnified Party shall
 be liable for any damages arising from the use by unintended recipients of any information or other
 materials distributed to such unintended recipients by such Indemnified Party through
 telecommunications, electronic or other information transmission systems in connection with this
 Agreement or the other Loan Documents or the transactions contemplated hereby or thereby other than
 for direct or actual damages resulting from the fraud, bad faith, gross negligence or willful misconduct of
 such Indemnified Party as determined by a final and nonappealable judgment of a court of competent
 jurisdiction, WHICH LIMITATION OF LIABILITY SHALL APPLY REGARDLESS OF
 WHETHER THE LIABILITY ARISES FROM THE SOLE, CONCURRENT, CONTRIBUTORY
 OR COMPARATIVE NEGLIGENCE OF THE INDEMNIFIED PARTY.

         10.     NOTICES.

         All notices, consents, requests, approvals, demands, or other communication by any party to this
 Agreement or any other Loan Document must be in writing and shall be deemed to have been validly
 served, given, or delivered: (a) upon the earlier of actual receipt and three (3) Business Days after deposit
 in the U.S. mail, first class, registered or certified mail return receipt requested, with proper postage
 prepaid; (b) upon transmission, when sent by electronic mail; (c) one (1) Business Day after deposit with
 a reputable overnight courier with all charges prepaid; or (d) when delivered, if hand-delivered by
 messenger, all of which shall be addressed to the party to be notified and sent to the address, facsimile
 number, or email address indicated below. Lender or the Loan Parties may change its mailing or




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 electronic mail address or facsimile number by giving the other party written notice thereof in accordance
 with the terms of this Section 10:

                 If to the Loan Parties:           [Applicable Loan Party]
                                                   Attention: Lance Miller
                                                   Paladin Management Group
                                                   633 W. 5th Street, 26th Floor
                                                   Los Angeles, CA 90071
                                                   Lmiller@paladinmgmt.com

                                           With a copy to (which does not constitute notice):

                                           Buchalter, P.C.
                                           1000 Wilshire Blvd., Suite 1500
                                           Los Angeles, CA 90017
                                           Attention: Khaled Tarazi, Esq. and Daniel Katz, Esq.
                                           Emails: ktarazi@buchalter.com / dkatz@buchalter.com


                 If to Lender:             iCap DIP Finance Group LLC
                                           1990 S. Bundy Dr., Suite 650
                                           Los Angeles, CA 90025
                                           Attention: Kevin DeMeritt
                                           Email: k_demeritt@learcapital.com




                                           With a copy to (which does not constitute notice):

                                            Shulman Bastian Friedman & Bui LLP
                                           100 Spectrum Center Drive, Suite 600
                                           Irvine, CA 92618
                                           Attention: Alan J. Friedman, Esq. and Mimi Lin, Esq.
                                           Emails: AFriedman@shulmanbastian.com;
                                           MLin@shulmanbastian.com
          The parties hereto may change the address at which they are to receive notices hereunder, by
 notice in writing in the foregoing manner given to the other.




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      11.   CHOICE OF LAW AND VENUE; JURY TRIAL WAIVER; JUDICIAL
 REFERENCE.

         This Agreement was negotiated in the State of California, the Loan was made by Lender and
 accepted by the Loan Parties in the State of California, and the proceeds of the Loan delivered pursuant
 hereto were disbursed from the State of California, which state the parties irrevocably and
 unconditionally agree has a substantial relationship to the parties and to the underlying transaction
 embodied hereby, and in all respects, including, without limiting the generality of the foregoing, matters
 of construction, validity and performance, each and all of this Agreement and the other Loan Documents,
 and the obligations arising hereunder and thereunder shall be governed by, and construed in accordance
 with, the laws of the State of California applicable to contracts made and performed in such state
 (without regard to principles of conflicts of laws) and any applicable law of the United States of
 America, except that at all times the attachment, creation, perfection, and enforcement of the liens and
 security interests created under the deeds of trust in favor of Lender in respect of real property and/or
 personal property shall be governed by and construed according to the law of the state in which such real
 property is located, it being understood that, to the fullest extent permitted by the law of such state, the
 law of the State of California shall govern the construction, validity and enforceability of this Agreement,
 the Loan and all of the obligations arising hereunder or thereunder.

         To the fullest extent permitted by law, each of the Loan Parties and Lender hereby
 unconditionally and irrevocably waives any claim to assert that the law of any other jurisdiction governs
 this Agreement and/or the Loan.

          The Loan Parties and Lender each further submit to the exclusive jurisdiction of the Bankruptcy
 Court; provided, however, that nothing in this Agreement shall be deemed to operate to preclude Lender
 from bringing suit or taking other legal action in any other jurisdiction to realize on the Collateral or any
 other security for the Obligations located in such other jurisdiction, or to enforce a judgment or other
 court order in favor of Lender. The Loan Parties expressly submit and consent in advance to such
 jurisdiction in any action or suit commenced in any such court, and the Loan Parties hereby waive any
 objection that it may have based upon lack of personal jurisdiction, improper venue, or forum non
 conveniens and hereby consents to the granting of such legal or equitable relief as is deemed appropriate
 by such court. The Loan Parties hereby waive personal service of the summons, complaints, and other
 process issued in such action or suit and agrees that service of such summons, complaints, and other
 process may be made by registered or certified mail addressed to the Loan Parties at the address set forth
 in, or subsequently provided by the Loan Parties in accordance with, Section 10 of this Agreement and
 that service so made shall be deemed completed upon the earlier to occur of the Loan Parties’ actual
 receipt thereof or three (3) calendar days after deposit in the U.S. mails, proper postage prepaid

      TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, THE LOAN
 PARTIES AND LENDER EACH WAIVE THEIR RIGHT TO A JURY TRIAL OF ANY CLAIM
 OR CAUSE OF ACTION ARISING OUT OF OR BASED UPON THIS AGREEMENT, THE
 LOAN DOCUMENTS OR ANY CONTEMPLATED TRANSACTION, INCLUDING
 CONTRACT, TORT, BREACH OF DUTY AND ALL OTHER CLAIMS. THIS WAIVER IS A
 MATERIAL INDUCEMENT FOR BOTH PARTIES TO ENTER INTO THIS AGREEMENT.
 EACH PARTY HAS REVIEWED THIS WAIVER WITH ITS COUNSEL.

         This Section 11 shall survive the termination of this Agreement.




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         12.     BANKRUPTCY COURT.

         For the avoidance of doubt, to the extent there is conflict between the terms of this Agreement
 and the terms of the Final Order, the Final Order shall control.

         13.     MULTIPLE BORROWERS.

                  13.1     Joint and Several Liability; Surety Provisions. Each Loan Party agrees that it
 is jointly and severally liable for, and absolutely, irrevocably and unconditionally guarantees to Lender
 the prompt payment and performance of, all Obligations. Each Loan Party acknowledges and agrees that
 its Collateral secures and cross-collateralizes each Loan made hereunder. Each Loan Party further
 acknowledges and agrees to the matters set forth on Exhibit C.

                   13.2   Marshalling. Each Loan Party expressly waives all rights that it may have now
 or in the future under any statute, at common law, in equity or otherwise, to compel Lender to marshal
 assets or to proceed against any Loan Party, other Person or security for the payment or performance of
 any Obligations before, or as a condition to, proceeding against such Loan Party. Each Loan Party
 waives all defenses available to a surety, guarantor or accommodation co-obligor other than full payment
 of all Obligations and waives, to the maximum extent permitted by law, any right to revoke any guaranty
 of any Obligations as long as it is a Loan Party. It is agreed among each Loan Party and Lender that the
 provisions of this Section 13.2 are of the essence of the transaction contemplated by the Loan Documents
 and that, but for such provisions, Lender would decline to make DIP Loans.

                  13.3    Consolidated Credit Facility. Each Loan Party has requested that Lender make
 this DIP Credit Facility available to the Loan Parties on a combined basis, in order to finance the Loan
 Parties’ business most efficiently and economically. The Loan Parties’ business is a mutual and
 collective enterprise, and the successful operation of each Loan Party is dependent upon the successful
 performance of the integrated group. The Loan Parties believe that consolidation of their credit facility
 will enhance the borrowing power of each Loan Party and ease administration of the facility, all to their
 mutual advantage.

                 13.4    Loan Party Subordination. Each Loan Party hereby subordinates any claims,
 including any rights at law or in equity to payment, subrogation, reimbursement, exoneration,
 contribution, indemnification or set off, that it may have at any time against any other Loan Party,
 howsoever arising, to the full payment of all Obligations.

                  13.5    One Obligation. The DIP Loans and other Obligations constitute one general
 obligation of the Loan Parties and are secured by Lender’s first priority Lien on all Collateral; provided,
 however, that Lender shall be deemed to be a creditor of, and the holder of a separate claim against, each
 Loan Party to the extent of any Obligations jointly or severally owed by such Loan Party.

         14.     GENERAL PROVISIONS.

                 14.1     Successors and Assigns. This Agreement shall bind and inure to the benefit of
 the respective successors and permitted assigns of each of the parties; provided, however, that neither
 this Agreement nor any rights hereunder may be assigned by the Loan Parties or, prior to the occurrence
 of an Event of Default, Lender, without the other’s prior written consent, which consent may be granted
 or withheld in such party’s sole discretion.

               14.2    Indemnification. The Loan Parties shall defend, indemnify and hold harmless
 Lender and its officers, employees, and agents (each an “Indemnified Party”) against: (a) all



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 obligations, demands, claims, and liabilities claimed or asserted by any other party in connection with the
 transactions contemplated by this Agreement; and (b) all actual losses or actual Lender Expenses in any
 way suffered, incurred, or paid by Lender as a result of or in any way arising out of, following, or
 consequential to transactions between Lender and the Loan Parties whether under this Agreement, the
 DIP Loan Facility, the Case, or otherwise (including without limitation reasonable attorneys’ fees and
 expenses), provided, the foregoing shall specifically expressly exclude (a) any special, exemplary,
 punitive or consequential damages (unless the same are asserted by a third party against Lender and
 awarded to such third party in a legal proceeding against Lender and paid (or payable) by Lender), lost
 profits and diminution in value and any (b) any losses caused by an Indemnified Party’s fraud, bad faith,
 gross negligence or willful misconduct. This Section 14.2 shall not apply to Taxes.

                   14.3   Time of Essence. Time is of the essence for the performance of all obligations
 set forth in this Agreement.

                 14.4    Severability of Provisions. Each provision of this Agreement shall be severable
 from every other provision of this Agreement for the purpose of determining the legal enforceability of
 any specific provision.

                 14.5   Amendments in Writing, Integration. Except as expressly set forth herein, all
 amendments to or terminations of this Agreement or the Loan Documents must be in writing signed by
 each of the parties hereto. All prior agreements, understandings, representations, warranties, and
 negotiations between any of the parties hereto with respect to the subject matter of this Agreement and
 the Loan Documents, if any, are merged into this Agreement and the Loan Documents.

                 14.6     Counterparts. This Agreement may be executed in any number of counterparts
 and by different parties on separate counterparts, each of which, when executed and delivered, shall be
 deemed to be an original, and all of which, when taken together, shall constitute but one and the same
 Agreement. In the event that any signature is delivered by facsimile transmission or by e-mail delivery of
 a “.pdf” format data file, such signature shall create a valid and binding obligation of the party executing
 (or on whose behalf such signature is executed) with the same force and effect as if such facsimile or
 “.pdf” signature page were an original thereof.

                  14.7     Electronic Execution of Documents. The words “execution,” “signed,”
 “signature” and words of like import in any Loan Document shall be deemed to include electronic
 signatures or the keeping of records in electronic form, each of which shall be of the same legal effect,
 validity and enforceability as a manually executed signature or the use of a paper-based recordkeeping
 systems, as the case may be, to the extent and as provided for in any applicable law, including, without
 limitation, any state law based on the Uniform Electronic Transactions Act.

                  14.8    Survival. All covenants, representations and warranties made in this Agreement
 shall continue in full force and effect so long as any Obligations remain outstanding or Lender has any
 obligation to make Credit Extensions to the Loan Parties (excluding any contingent payment obligations
 which expressly survive repayment of the Loan and which, as of the date of such full repayment, have
 not yet ripened). The obligations of the Loan Parties to indemnify Lender with respect to the expenses,
 damages, losses, costs and liabilities described in Section 14.2 shall survive until all applicable statute of
 limitations periods with respect to actions that may be brought against Lender have run.

                14.9     Confidentiality; Disclosure. In handling any confidential information Lender
 and all employees and agents of Lender, including but not limited to accountants, shall exercise the same
 degree of care that it exercises with respect to its own proprietary information of the same types to
 maintain the confidentiality of any non-public information thereby received or received pursuant to this



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 Agreement except that disclosure of such information may be made (i) to prospective transferees or
 purchasers of any interest in the loans, provided that they are similarly bound by confidentiality
 obligations, (ii) as required by law, regulations, rule or order, subpoena, judicial order or similar order
 (including in connection with the Case), (iii) as may be required in connection with the examination,
 audit or similar investigation of Lender and (iv) as Lender may determine in connection with the
 enforcement of any remedies hereunder. Confidential information hereunder shall not include
 information that either: (a) is in the public domain or in the knowledge or possession of Lender when
 disclosed to Lender, or becomes part of the public domain after disclosure to Lender through no fault of
 Lender; or (a) is disclosed to Lender by a third party, provided Lender does not have actual knowledge
 that such third party is prohibited from disclosing such information. The Loan Parties authorize Lender
 to disclose its relationship with the Loan Parties, including use of the Loan Parties’ logo in Lender’s
 promotional materials.

                     14.10     Intentionally Omitted1.

                  14.11 Transfer of the Loan. Lender may, at any time, upon five (5) Business Days
 advance written notice to the Loan Parties, sell, transfer or assign a partial interest in the DIP Loan (but
 not its entire interest in the whole DIP Loan), or grant participations therein. Any assignee shall be
 treated as a Lender for all purposes hereunder. Notwithstanding the foregoing or anything in this
 Agreement or the other Loan Documents to the contrary, if at the time of any transfer of a less than
 whole interest in the DIP Loan by Lender there are any remaining unfunded Advances under the Loan
 Documents, then Lender shall remain fully and primarily liable therefore and Lender shall be required to
 cure any failure of such transferee to satisfy any Advances not made in violation of the Loan Documents.

                 14.12 Patriot Act Notice. Lender notifies the Loan Parties that, pursuant to the
 requirements of the USA Patriot Act, Title III of Pub. L. 107-56 (signed into law on October 26, 2001)
 (the “Patriot Act”), it is required to obtain, verify and record information that identifies the Loan Parties,
 which information includes names and addresses and other information that will allow Lender to identify
 the Loan Parties in accordance with the Patriot Act.

                 14.13 Correction of Loan Documents. Lender may correct patent errors and fill in
 any blanks in the Loan Documents consistent with the agreement of the parties.

                                               [SIGNATURE PAGE FOLLOWS]




 1
     NTD: reinsert if lending entity will be replaced by licensed lender



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                                                                                             Pg 842,ofPage
                                                                                                       100 84
         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of
 the date first above written.

 PROPERTY OWNERS


 UW 17th Ave, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 725 Broadway, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Campbell Way, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 VH 1121 14th, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager




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 VH Senior Care, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 VH Willows Townhomes, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager




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 CONSTITUENT PARTY DEBTORS


 CS2 Real Estate Development, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 Colpitts Sunset, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap @ UW, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Broadway, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Enterprises, Inc. f/k/a Altius Development, Inc.,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



                   [Signature Page 1 to Debtor-in-Possession Loan and Security Agreement]


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 iCap Equity, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Funding, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Holding, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap International Investment, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Investments, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager




                    [Signature Page 2 to Debtor-in-Possession Loan and Security Agreement]


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                                                                                               100 88
 iCap Management LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Northwest Opportunity Fund, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Pacific Income Fund 4, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Pacific Income Fund 5, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Pacific Northwest Opportunity and Income Fund, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager




                    [Signature Page 3 to Debtor-in-Possession Loan and Security Agreement]


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 iCap Pacific NW Management, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Realty, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Vault 1, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Vault Management, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 iCap Vault LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager




                    [Signature Page 4 to Debtor-in-Possession Loan and Security Agreement]


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                                                                                               100 90
 iCap Holding 5, LLC,
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager

 iCap Holding 6, LLC
 a Washington limited liability company


 By:
 Name: Lance Miller
 Title: Manager

 iCap Pacific Development LLC
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 Senza Kenmore, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 Vault Holdings LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager




                    [Signature Page 5 to Debtor-in-Possession Loan and Security Agreement]


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                                                                                               100 91
 Vault Holding 1, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 VH 2nd Street Office, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager



 VH Pioneer Village, LLC,
 a Delaware limited liability company


 By:
 Name: Lance Miller
 Title: Manager




                    [Signature Page 6 to Debtor-in-Possession Loan and Security Agreement]


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                                                                       EXHIBIT A

                                                                   REAL PROPERTY


         1.       The real property commonly known as 4740 17th Ave NE Seattle, WA and owned by UW 17th Ave, LLC, and all buildings and improvements
thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the proceeds,
products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        2.       The real property commonly known as 715-775 Broadway Tacoma, WA and owned by 725 Broadway, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        3.       The real property commonly known as 1231 Campbell Way Bremerton, WA and owned by iCap Campbell Way, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

         4.       The real property commonly known as 117 -121 14th Ave., Seattle, WA and owned by VH 1121 14th LLC, and all buildings and improvements
thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the proceeds,
products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        5.       The real property commonly known as 302 SE 146th Street Burien, WA and owned by VH Senior Care, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        6.       The real property commonly known as 1226 160th Street SW, Lynwood, WA and owned by VH Senior Care, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        7.       The real property commonly known as 4918C, Willow St., Seattle, WA and owned by VH Willows Townhomes, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        8.       The real property commonly known as 4906A, Willow St., Seattle, WA and owned by VH Willows Townhomes, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.




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        9.       The real property commonly known as 4912B, Willow St., Seattle, WA and owned by VH Willows Townhomes, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.

        10.      The real property commonly known as 4910B, Willow St., Seattle, WA and owned by VH Willows Townhomes, LLC, and all buildings and
improvements thereon, proceeds, products, rents and profits thereof, including, without limitation, insurance proceeds and insurance premium refunds, and the
proceeds, products, rents and profits of all of the foregoing that constitute Prepetition Collateral.




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                                   EXHIBIT B

                            FORM OF FINAL ORDER

                                   See attached




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                                               EXHIBIT C

                               SURETYSHIP PROVISIONS AND WAIVERS

 1.       Condition of Other Loan Parties. Each Loan Party represents and warrants to Lender that such
 Loan Party has established adequate means of obtaining from the other Loan Parties, on a continuing
 basis, financial and other information pertaining to the business, operations and condition (financial and
 otherwise) of the other Loan Parties and their assets, and each Loan Party now is and hereafter will be
 completely familiar with the business, operations and condition (financial and otherwise) of the other
 Loan Parties and their assets. Each Loan Party hereby expressly waives and relinquishes any duty on the
 part of Lender to disclose to such Loan Party any matter, fact or thing related to the businesses,
 operations or condition (financial or otherwise) of the other Loan Parties and their assets, whether now
 known or hereafter known by Lender during the life of this Agreement. With respect to any of the
 Obligations, Lender need not inquire into the powers of any Loan Party, or the officers or employees
 acting or purporting to act on its behalf, and all Obligations made or created in good faith reliance upon
 the professed exercise of such powers shall be secured hereby.

 2.       Waiver of Rights of Subrogation. Until no part of any commitment of Lender to lend to Loan
 Parties remains outstanding and all of the Obligations have been paid and performed in full (excluding
 any contingent payment obligations which expressly survive the full repayment of the Loan and which, as
 of the date of such full repayment, have not yet ripened), notwithstanding anything to the contrary
 elsewhere contained herein or in any other Loan Document to which each Loan Party is a party, each
 Loan Party hereby waives to the extent if may lawfully do so with respect to the other Loan Parties any
 and all rights at law or in equity, to subrogation, to reimbursement, to exoneration, to indemnity, to
 contribution, to setoff or to any other rights that could accrue to a surety against a principal, to a
 guarantor against a maker or obligor, to an accommodation party against the party accommodated, or to a
 holder or transferee against a maker and which any Loan Party may have or hereafter acquire against any
 other Loan Party in connection with or as a result of such Loan Party’s execution, delivery and/or
 performance of this Agreement or any other Loan Document to which each Loan Party is a party. Until
 no part of any commitment of Lender to lend to the Loan Parties remains outstanding and all of the
 Obligations have been paid and performed in full (excluding any contingent payment obligations which
 expressly survive the full repayment of the Loan and which, as of the date of such full repayment, have
 not yet ripened), each Loan Party agrees that it shall not have or assert any such rights against any other
 Loan Party or its successors and assigns either directly or as an attempted setoff to any action
 commenced against any Loan Party by any other Loan Party (as a borrower or in any other capacity) or
 any other Person. Each Loan Party hereby acknowledges and agrees that this waiver is intended to
 benefit Lender and shall not limit or otherwise affect each Loan Party’s liability hereunder, under any
 other Loan Document to which any Loan Party is a party, or the enforceability hereof or thereof. Until
 no part of any commitment of Lender to lend to the Loan Parties remains outstanding and all of the
 Obligations have been paid and performed in full (excluding any contingent payment obligations which
 expressly survive the full repayment of the Loan and which, as of the date of such full repayment, have
 not yet ripened), each Loan Party expressly waives any right to enforce any remedy that Lender now has
 or hereafter may have against any other Person and waives the benefit of, or any right to participate in,
 any other security now or hereafter held by Lender.

 3.      Liens on Real Property. In the event that all or any part of the Obligations at any time are
 secured by any one or more deeds of trust or mortgages or other instruments creating or granting liens on
 any interests in real property, subject to the terms of the Agreement, each Loan Party authorizes Lender,
 upon the occurrence of and during the continuance of any Event of Default, at its sole option, without
 notice or demand, but subject to any all notice required by Applicable Law in the jurisdiction where such
 Real Property is located and any notice which cannot be waived and without affecting any obligations of



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 any Loan Party hereunder and under the other Loan Documents, the enforceability of this Agreement, or
 the validity or enforceability of any liens of Lender on any collateral, to foreclose any or all of such
 deeds of trust or mortgages or other instruments by judicial or nonjudicial sale.

 4.      To the extent a court of competent jurisdiction deems each of the Loan Parties guarantors of the
 Obligations instead of primary obligors as intended by the parties and to the fullest extent permitted by
 Applicable Law, each of the Loan Parties expressly waives all rights defenses that each Loan Party may
 have if the Obligations become secured by real property. This means, among other things, that Lender
 may collect from any Loan Party without first foreclosing on any real or personal property pledged by
 any Loan Party, and that if Lender forecloses on any real property collateral pledged by any Loan Party,
 the amount of the Obligations may be reduced only by the price for which that Collateral is sold at the
 foreclosure sale, even if that collateral is worth more than the sale price, and that Lender may collect
 from any Loan Party even if Lender, by foreclosing on the real property collateral, has destroyed any
 right any Loan Party may have to collect from any other Loan Party. This is an unconditional and
 irrevocable waiver of any rights and defenses each Loan Party may have if the Obligations become
 secured by real property. These rights and defenses include, but are not limited to, any rights or defenses
 based upon California Code of Civil Procedure §§ 580a, 580b, 580d or 726, or comparable provisions of
 the laws of any other jurisdiction, and all other suretyship defenses each Loan Party otherwise might or
 would have under California law or other applicable law. Further, each of the Loan Parties waive all
 rights and defenses arising out of an election of remedies by Lender, even though that election of
 remedies, such as nonjudicial foreclosure with respect to security for the Obligations, has destroyed any
 Loan Party’s rights of subrogation and reimbursement against any other Loan Party by the operation of
 California Code of Civil Procedure § 580d or otherwise. Each Loan Party expressly waives any right to
 receive notice of any judicial or nonjudicial foreclosure or sale of any real property or interest therein
 subject to any such deeds of trust or mortgages or other instruments and each Loan Party’s failure to
 receive any such notice shall not impair or affect each Loan Party’s obligations hereunder and under the
 other Loan Documents or the enforceability of this Agreement or any liens created or granted hereby.

 5.     Waiver of Discharge. Without limiting the generality of the foregoing, each Loan Party hereby
 waives discharge by waiving all defenses based on suretyship or impairment of collateral.

 6.       Understandings with Respect to Waivers and Consents. Each Loan Party warrants and agrees that
 each of the waivers and consents set forth herein is made after consultation with legal counsel and with
 full knowledge of its significance and consequences, with the understanding that events giving rise to any
 defense or right waived may diminish, destroy or otherwise adversely affect rights which any Loan Party
 otherwise may have against any other Loan Party, Lender or others, or against collateral, and that, under
 the circumstances, the waivers and consents herein given are reasonable and not contrary to public policy
 or law. If any of the waivers or consents herein are determined to be contrary to any applicable law or
 public policy, such waivers and consents shall be effective to the maximum extent permitted by law.




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                                             SCHEDULE I

                                 Property Owners and Related Properties


  Property Owner                          Real Property
  UW 17th Ave, LLC                        4740 17th Ave NE
                                          Seattle, WA
  725 Broadway, LLC                       715-775 Broadway
                                          Tacoma, WA
  iCap Campbell Way LLC                   1231 Campbell Way
                                          Bremerton, WA
  VH 1121 14th LLC                        117 -121 14th Ave.,
                                          Seattle, WA
  VH Senior Care LLC                      302 SE 146th Street
                                          Burien, WA
  VH Senior Care LLC                      1226 160th Street SW,
                                          Lynwood, WA
  VH Willows Townhomes, LLC               4918C, Willow St.,
                                          Seattle, WA
  VH Willows Townhomes, LLC               4906A, Willow St.,
                                          Seattle, WA
  VH Willows Townhomes, LLC               4912B, Willow St.,
                                          Seattle, WA
  VH Willows Townhomes, LLC               4910B, Willow St.,
                                          Seattle, WA




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                                             SCHEDULE II

                                      iCAP Constituent Party Debtors

 CS2 Real Estate Development, LLC
 Colpitts Sunset, LLC
 iCap @ UW, LLC
 iCap Broadway, LLC
 iCap Enterprises, Inc. f/k/a Altius Development, Inc.
 iCap Equity, LLC
 iCap Funding LLC
 iCap Holding, LLC
 iCap International Investment, LLC
 iCap Investments, LLC
 iCap Management LLC
 iCap Northwest Opportunity Fund, LLC
 iCap Pacific Income 4 Fund,, LLC
 iCap Pacific Income 5 Fund, LLC
 iCap Pacific Northwest Opportunity and Income Fund, LLC
 Icap Pacific NW Management, LLC
 iCap Realty, LLC
 iCap Vault I, LLC
 iCap Vault Management, LLC
 iCap Vault, LLC
 iCap Holding, 5 LLC
 iCap Holding, 6 LLC
 iCap Pacific Development LLC
 Senza Kenmore, LLC
 Vault Holding, LLC
 Vault Holding, LLC
 Vault Holding 1, LLC
 VH 2nd Street Office LLC
 VH Pioneer Village, LLC




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